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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                   (MIAMI DIVISION)

   Ghada Oueiss,
                         Plaintiff,

                   v.

   Mohammed Bin Salman Bin Abdulaziz Al
   Saud, Mohammed Bin Zayed Al Nahyan,
   DarkMatter, Faisal al Bannai, Saudi 24 TV, a
   broadcast television station owned by the       Case No. __________________
   Kingdom of Saudi Arabia, Al Arabiya, a
   broadcast television station owned by the
   Kingdom of Saudi Arabia, Prince Mohammed
   Bin Salman Abdulaziz Foundation d/b/a
   MiSK Foundation, Saud Al Qahtani, Bader
   Al-Asaker, Saudi Arabian Cultural Mission,
   Tarek Abou Zeinab, Turki Al-Owerde, Faisal
   Al Menaia, Awwad Al Otaibi, Sharon Collins,
   Christanne Schey, Hussam Al-Jundi, Annette
   Smith, John Does 1-20,
                          Defendants.



                                             Complaint

         Plaintiff Ghada Oueiss (“Ms. Oueiss” or “Plaintiff”) for her complaint against Defendants

  Mohammed bin Salman Bin Abdulaziz Al Saud, Mohammed Bin Zayed Al Nahyan, DarkMatter,

  a cybersecurity company headquartered in Abu Dhabi, Faisal al Bannai, Saudi 24 TV, a broadcast

  television station owned by the Kingdom of Saudi Arabia, Al Arabiya, a broadcast television

  station owned by the Kingdom of Saudi Arabia, Prince Mohammed Bin Salman Abdulaziz

  Foundation d/b/a MiSK Foundation, Saud Al Qahtani, Bader Al-Asaker, Saudi Arabian Cultural

  Mission, Tarek Abou Zeinab, Turki Al-Owerde, Faisal Al Menaia, Awwad Al Otaibi, Sharon

  Collins, Christanne Schey, Hussam Al-Jundi, Annette Smith, and John Does 1-20 (together

  “Defendants”), alleges and states as follows:
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                                          INTRODUCTION

         1.      This is a civil action arising out of the targeted unlawful hacking of Plaintiff, Ghada

  Oueiss, an international journalist who has a significant presence in the U.S. and abroad, both as a

  journalist for Al Jazeera Media Network (“Al Jazeera”) and as a frequent contributor to U.S. news

  agencies, such as The Washington Post. This unlawful hack and leak operation against Ms. Oueiss

  (the “Conspiracy”) was spearheaded by the crown princes of Saudi Arabia and the United Arab

  Emirates (“UAE”) and their co-conspirators in the U.S. and elsewhere.

         2.      The hack and leak operation was directed and controlled by foreign actors who

  created an American infrastructure comprised of various U.S. citizens that worked in concert to

  viciously attack Ms. Oueiss. As discussed below, all these Defendants – both foreign and domestic

  – worked together to carry out a multi-faceted conspiracy and attack on Ms. Oueiss.

         3.      Briefly put, the Conspiracy against Ms. Oueiss consists of three stages: (1) the

  “recruiting stage,” whereby Saudi government officials and agents of the crown princes of Saudi

  Arabia utilized their positions in U.S.-based entities (such as the Saudi Arabian Cultural Mission)

  to recruit American citizens to join a campaign to promote pro-Saudi and pro-UAE disinformation

  and attack any critics of the regimes, including Ms. Oueiss; (2) the “hacking stage,” whereby

  Defendants hacked Ms. Oueiss’ personal mobile device on several occasions; and (3) the

  “dissemination, amplification, and defamation stage,” whereby Defendants, in the U.S. and

  abroad, disseminated stolen personal images of Ms. Oueiss, with full knowledge of the hacking

  operation, all in an attempt to defame, disparage and intimidate Ms. Oueiss from continuing to

  report on the regimes’ human rights abuses.

         4.      Why did these wrongdoers engage in this Conspiracy against Ms. Oueiss?

  Obsessed with maintaining a polished standing, the de facto rulers of the UAE and Saudi regimes

  are determined to whitewash their public images in the eyes of the American government and its
                                                   2
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  citizens. One way to accomplish this goal is to eviscerate all critics of their regimes—no matter

  the veracity of the critics’ statements about the regimes.

         5.      Ms. Oueiss brings this action against all Defendants – domestic and foreign –

  responsible for the unlawful hacking and dissemination of her personal information worldwide,

  with key supporting acts committed in the State of Florida where two Defendants – Sharon Collins

  and Hussam Al-Jundi – engaged in tortious acts, including publishing the stolen information and

  actively participating in the Conspiracy against Ms. Oueiss. Each actor must be held responsible

  for their unlawful actions and Conspiracy against Ms. Oueiss, and this lawsuit marks the beginning

  of a journey toward justice for Ms. Oueiss.

              EVISCERATING CRITICS OF THE SAUDI AND UAE REGIMES

         6.      On October 2, 2018, journalist Jamal Khashoggi was ambushed, asphyxiated,

  murdered, and then dismembered. As he lay lifeless in the building of the Saudi Embassy in

  Turkey, his killers chatted casually—unaware that they were being recorded.

         7.      “I normally put on my earphones and listen to music when I cut cadavers. In the

  meantime, I sip on my coffee and smoke. After I dismember it, you will wrap the parts into plastic

  bags, put them in suitcases and take them out [of the building].” The man who uttered those vile

  words is Salah Mohammed Abdah Tubaigy. He was recorded during and after the murder,

  discussing how he would dispose of the evidence. He is just one of more than 15 Saudi killers

  who participated in this state-sanctioned assassination.

         8.      Mr. Khashoggi was a brilliant journalist. An ardent dissident of Saudi Arabia, and

  a columnist for The Washington Post, his sole crime was his outspoken support for Saudi

  progressivism and his criticism of the Saudi government and its de facto leader, Crown Prince

  Mohammed bin Salman bin Abdulaziz Al Saud (“MBS”).



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           9.       In the months leading up to his murder, Mr. Khashoggi was constantly attacked by

  an army of Twitter, Inc. (“Twitter”) trolls who were acting at the behest of the Saudi government.

  These Twitter trolls, assembled by the Saudi regime to attack Mr. Khashoggi on Twitter, were

  individuals hiding behind inauthentic accounts, commonly referred to as “bot” accounts.1 These

  “bot” accounts consistently posted intentionally inflammatory, defamatory, or upsetting

  statements on Twitter to, among other things, steer the conversation off-topic.

           10.      As explained in Ms. Maggie Mitchell Salem’s (a friend of Mr. Khashoggi)

  interview with the New York Times, “[t]he mornings were the worst for him because he would

  wake up to the equivalent of sustained gunfire online[.]” 2 These attackers carrying out this

  offensive cyber effects operation were “part of a broad effort dictated by Crown Prince Mohammed

  bin Salman and his close advisers to silence critics both inside Saudi Arabia and abroad.” Id. This

  type of information warfare is something that Saudi Arabia has perfected, having gone so far as to

  infiltrate companies like Twitter. Indeed, as reported by the New York Times,3 it was against the

  backdrop of this onslaught of internet attacks, orchestrated, curated and executed by the Saudi

  regime, that Mr. Khashoggi was eventually murdered.

           11.      Mr. Khashoggi’s case is tragic. But equally upsetting is that this was a murder that

  was carried out at the behest of a de facto ruler of a country. The Central Intelligence Agency of

  the United States (“CIA”) determined, after investigating this crime, that MBS ordered this

  murder.


  1
     https://us.norton.com/internetsecurity-emerging-threats-what-are-twitter-bots-and-how-to-spot-
  them.html#:~:text=Twitter%20bots%2C%20also%20known%20as,goals%20on%20a%20large%20scale. (“Twitter
  bots . . . are automated Twitter accounts controlled by bot software. While they are programmed to perform tasks
  that resemble those of everyday Twitter users – such as liking tweets and following other users – their purpose is to
  tweet and retweet content for specific goals on a large scale.”).
  2
     https://www.nytimes.com/2018/10/20/us/politics/saudi-image-campaign-twitter.html
  3
     See id. (“The vigorous push also appears to include the grooming-not previously reported- of a Saudi employee at
  Twitter whom Western intelligence officials suspected of spying on user accounts to help Saudi leadership.”).

                                                           4
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         12.     Equally telling of MBS’s culpability in Mr. Khashoggi’s murder is MBS’s own

  recognition and admissions through the action of his co-conspirators’ acknowledgment of

  orchestrating the murder. As further set forth below, high standing members of the Saudi network

  and co-conspirators have openly threatened Ms. Oueiss in connection to her coverage or by direct

  reference to Mr. Khashoggi’s fate. MBS’s endorsement of such action, both by action and

  inaction, constitutes an admission of culpability and responsibility for the murder.

         13.     After this horrific event, Time named Mr. Khashoggi as the “person of the year,”

  publishing its appreciation for his journalistic acumen and calling him a “Guardian of the Truth.”

         14.     Mr. Khashoggi was not alone, however, in his outspoken view of the Saudi regime.

         15.     Saudi Arabia has been criticized by Human Rights Watch, Amnesty International,

  and the U.S. Department of State for unlawful killings, executions for non-violent offenses, forced

  renditions, forced disappearances, torture, violence and discrimination against women, censorship,

  and even severe restrictions of religious freedoms.

         16.     Thus, Plaintiff, Ms. Ghada Oueiss, a 44-year-old journalist who has published her

  reporting in media outlets around the world, including the U.S., is just the most recent victim of

  Saudi operatives using American instrumentalities to further varying objectives.

         17.     Ms. Oueiss earned her degree from Lebanese University of Journalism, graduating

  in 1999. Ms. Oueiss joined Al Jazeera in 2006 and has since published various articles for U.S.-

  based news agencies including The Washington Post.

         18.     Ms. Oueiss is the recipient of the 2013 May Chidiac Foundation Award for

  Journalism.

         19.     Like Mr. Khashoggi, Ms. Oueiss has written on topics focused on Saudi Arabia’s

  human rights abuses, notwithstanding the risk to her life.



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            20.    After Mr. Khashoggi was murdered for being a guardian of truth adverse to Saudi

  Arabia’s interests, Ms. Oueiss publicly reported on the Saudi regime’s involvement in the

  assassination.

            21.    And she did not relent, ever mindful of the fact that a brutal murder had been

  committed with total impunity. In doing so, Ms. Oueiss earned the attention of the Saudi regime.

  What followed was a premeditated attack, intended to destroy her reputation, personal life, and

  career.

            22.    Ms. Oueiss is one of the most recent of a list of journalists targeted by joint and

  coordinated efforts of Saudi and UAE leadership, which leverage multiple entities and vectors

  using social media harassment campaigns and targeted hacking efforts to defame, humiliate and

  harm dissidents and any others that report facts unaligned with the Saudi or UAE regimes.

            23.    On the Saudi front, Abdullatif al-Shaikh, a high standing social member of Saudi

  society, kicked off the social media attack against Ms. Oueiss by calling her a “prostitute” on

  Twitter. He then brazenly threatened Ms. Oueiss, tweeting a picture of Ms. Oueiss next to a

  photograph of Mr. Khashoggi’s fiancée with the threat “Very soon.” This was only the beginning

  of the onslaught against Ms. Oueiss.4

            24.    Abdullatif al-Shaikh would never have made such a threat without MBS’s approval,

  tacit or otherwise. MBS has never denounced this brazen threat, another recognition of Saudi

  involvement.

            25.    Ms. Oueiss was harkened back to what her friend Mr. Khashoggi had told her about

  how to deal with the coordinated Saudi and UAE social media harassment. On August 31, 2018,


  4
     See https://womeninjournalism.org/cfwij-press-statements/saudi-arabia-journalist-ghada-oueiss-is-once-again-
  attacked-by-accounts-suspected-to-be-tied-to-the-saudi-government (discussing the Saudi regime’s involvement in
  disseminating the hacked photographs of Ms. Oueiss, while simultaneously “deploying and buying [Twitter]
  accounts to troll and attack” women journalists, such as Ms. Oueiss).

                                                         6
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  shortly before he was murdered, Mr. Khashoggi told Ms. Oueiss: “Block them and ignore and do

  not upset yourself. That’s what I do.” Ms. Oueiss responded: “Hello mentor, you are absolutely

  right, but although I am getting used to this and it doesn’t upset me anymore, I still want to shed

  light to their style.”




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         26.    When Ms. Oueiss fought back instead, by retweeting her attackers’ tweets with the

  goal of exposing them and continuing her reporting, the Saudi and UAE operatives escalated their

  attacks.

         27.    In a shocking turn, the Saudi regime, having previously relied on bots and

  government officials, elevated their attacks to a new instrument of Saudi warfare: the use of

  unregistered American agents to work for and promote foreign interests in the U.S.

         28.    On three separate occasions from February 2020 through June 2020, Ms. Oueiss

  woke up to new Saudi attacks meant to disparage and embarrass her in online public forums where

  she regularly operates. On the first occasion, doctored financial documents were leaked across

  pro-Saudi media outlets attempting to damage Ms. Oueiss’ journalistic integrity. On the second

  and third occasions, private photographs from Ms. Oueiss’ mobile device were posted on social

  media in escalating attempts to sully her reputation. The third and most egregious attack leaked

  numerous screenshots of a video from Ms. Oueiss’ mobile device, which were altered in a way to

  falsely make her look nude. These leaked photographs were plastered across social media

  platforms and various “news” websites (which, as discussed below, were created at the behest of

  MBS and other named Defendants solely for the purpose of spreading disinformation about Ms.

  Oueiss).

         29.    A series of attacks on Ms. Oueiss’ persona, womanhood, character, and personal

  life were being executed and amplified on social media. How did this occur? Ms. Oueiss was the

  target of a coordinated effort to hack her mobile device and subsequently defame her. Her mobile

  device was hacked by a then-unknown person or entity, and the contents of her mobile device

  (including personal photographs of Ms. Oueiss) were stolen. As alleged herein, forensic evidence

  obtained from her mobile device and other evidence reveals that the individuals and entities



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  responsible for the hacking of her personal mobile device acted at the behest of MBS and the

  Crown Prince of the UAE, acting in concert with the other named Defendants.

         30.     These attacks were global, including attacks focused in the U.S. where a group of

  Americans—recruited by and working in lockstep with members of the Saudi government—

  proliferated and promoted the Saudi and UAE agenda online.

         31.     The attacks began with offensive posts and online harassment, escalated to the

  posting of doctored financial documents, and then peaked with the hacking of Ms. Oueiss’ personal

  mobile device and the posting and amplification of personal photographs that made her the subject

  of thousands of tweets and threatened her professionally and personally. Eventually, Ms. Oueiss

  even received various phone calls and text messages from unknown individuals threatening her

  life and career. These harassing calls and messages continue to this day.

         32.     Unlike the “bot” accounts discussed above, the attackers that have targeted Ms.

  Oueiss are real people. These agents are American citizens residing in the U.S. who, while not

  appearing to have any affiliation with Saudi Arabia, have been recruited by the other Defendants

  to accomplish Saudi goals of manipulating the American public through disinformation.

         33.     This case is brought to address the unlawful conduct by the de facto rulers of the

  Saudi and UAE regimes, their foreign agents, and their U.S. mercenaries, which has been directed

  at the U.S. and at Plaintiff, and for which Plaintiff seeks damages and injunctive relief.

                    DESCRIPTION OF PARTIES AND THE “NETWORK”

  Plaintiff

         34.     Plaintiff Ms. Ghada Oueiss is a principal anchor and presenter for Al Jazeera, which

  is headquartered in Doha, Qatar, and she regularly reports on human rights issues. A frequent

  contributor to the Washington Post, George Washington University, and Publications International



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   Press Institute (of which she is a member), she has worked for several newspapers, television

   channels and radio stations.

             35.    With a viewership of over 8,000,000 in the U.S., Ms. Oueiss derives a portion of

   her income from her work in the U.S. Ms. Oueiss visits the U.S. frequently for both personal and

   professional reasons.5 In 2012, for example, she visited the U.S. to cover the Presidential election.

   In 2014, she visited Florida to visit family members, some of whom reside in Florida. In 2018,

   she returned again to the U.S. again to cover the congressional elections. Ms. Oueiss has been to

   the U.S. as recently as the fall of 2019.

             36.    Ms. Oueiss’ prominence as a journalist has resulted in her obtaining millions of

   followers on social media. Ms. Oueiss has approximately 150,000 followers on Instagram,

   approximately 10,000 of which reside in the U.S. Ms. Oueiss has approximately 2 million

   followers on Facebook, approximately 200,000 of which reside in the U.S. Ms. Oueiss has

   approximately 850,000 followers on Twitter, at least 8,500 of which reside in the U.S.

             37.    As discussed below, Ms. Oueiss has been attacked by U.S. agents of Defendants

   MBS, Al Qahtani and Al-Asaker, among others. These U.S. agents have not notified the U.S.

   government of their agreement with Defendants to carry out this multi-faceted campaign against

   Ms. Oueiss, and a significant portion of this operation has been conducted by two Defendants in

   Florida. As shown in detail below, these U.S. agents, together with other foreign actors on Twitter,

   have formed a cohesive network (the “Network”) on Twitter, to spread pro-Saudi and pro-UAE

   propaganda and ruthlessly attack anyone who dares to report on these regimes’ human rights

   abuses.




   5
     See, e.g., https://www.hotelstrata.com/events/palo-alto/palo-alto-reach-education-fund-tour-with-ghada-oueiss-
   4565112

                                                           10
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   The American Nodes

                                              Defendant Sharon Collins

             38.      Defendant Sharon Collins is an American citizen who resides in Miami, Florida.

   Defendant Collins is the owner of a Florida-based automobile-related company. She is active on

   Twitter using the Twitter “handles” @305local, which was created in July 2011, and @305local2,

   which was created in November of 2017. 6 Through these handles, she has posted pro-Saudi

   disinformation and defamatory statements about Ms. Oueiss, and she knowingly disseminated

   doctored versions of private photographs that were stolen from Ms. Oueiss’ mobile device, all in

   furtherance of the Conspiracy discussed in this Complaint. She is not registered with the

   Department of Justice pursuant to the Foreign Agents Registration Act.

             39.      Prior to 2018, Defendant Collins’ main Twitter account (@305local) did not appear

   to be geared toward any political agenda or propaganda effort with respect to the Middle East, and

   her Twitter activity did not reveal any pro-Saudi sentiment. If anything, prior to 2018, her Twitter

   activity was anti-Saudi Arabia. Indeed, in November 2017, Defendant Collins tweeted out against

   Senator John McCain allegedly accepting donations from the Saudi regime:




   6
       A “handle” is a unique username that begins with the @ symbol and which is used to identify users on Twitter.

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          40.     However, like other named Defendants, in the summer of 2018, Defendant Collins’

   activity on Twitter took a drastic turn. Specifically, Defendant Collins began relentlessly and

   consistently pushing pro-Saudi propaganda through her Twitter account.

          41.     Evincing a further change in Defendant Collins’ behavior, Defendant Collins

   engaged in significant interaction and coordination with the named Defendants via Twitter—

   individuals with whom she had no prior connection. The interactions between Defendant Collins

   and the other Defendants on Twitter were openly in furtherance of the collaboration and unification

   amongst the Defendants to follow a pro-Saudi propaganda campaign.               Specifically, as of

   September 29, 2020, Defendant Collins has had 6,189 interactions with the Defendants via Twitter.

   Most, if not all, of these interactions relate to praising Saudi Arabia, UAE, MBS, or other acolytes

   of MBS, while consistently attacking dissidents of the Saudi and UAE regimes:




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                  User                Interactions with user by       Date of First Identifiable
                                             @305local                        Mention
        ScheyChris (Defendant                   1775                    2018-06-27 13:20:44
                Schey)
       KateStewart22 (Defendant                  1691                    2018-07-07 23:23:51
              Al Qahtani)
      Orchardcitygal & Smiity646                 1609                    2018-12-06 13:20:22
          (Defendant Smith)
      TarekLebanon1 (Defendant                    635                    2018-11-21 23:54:49
                Zeinab)
           Turki_AlOwerde                         479                    2019-02-14 17:27:05
        (Defendant Al-Owerde)


          42.     As time progressed, so did Defendant Collins’ sudden and seemingly inexplicable

   connection to Saudi Arabia. In or around December 2019, Defendant Collins visited Riyadh, Saudi

   Arabia. Specifically, on December 9, 2019, Defendant Collins tweeted a photograph of the skyline

   in Riyadh, along with the statement that the photograph depicted her “view from dinner last night.”

   Defendant Collins further stated that “#Saudi has welcomed me with nothing but open arms.”




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          43.    Defendant Collins took this photograph from the Globe Lounge Restaurant, located

   in the five-star Al Faisaliah Hotel (located in Riyadh), where she stayed from December 7, 2019

   to December 15, 2019.

          44.    On December 9, 2019, Defendant Collins stated publicly on Twitter that she

   attended a dinner at Defendant Al Otaibi’s home in Saudi Arabia. In the December 9, 2019 post,




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   she took photographs of Defendant Al Otaibi’s home, and thanked Defendant Al Otaibi and his

   family for hosting her.

           45.      Upon information and belief, Defendants MBS, Saudi 24 TV, Al Arabiya, Al

   Qahtani, Al-Asaker and the Recruiting Defendants7 funded Defendant Collins’ trip to Saudi Arabia

   in December 2019, as part of the Conspiracy against Plaintiff and the larger pro-Saudi propaganda

   campaign.

                                          Defendant Hussam Al-Jundi

           46.      Defendant Hussam Al-Jundi is an American citizen who resides in Orlando,

   Florida.      He operates a Twitter account with the handle @SamJundi to post pro-Saudi

   disinformation. Notwithstanding the fact that he is the Executive Vice President of a business in

   Saginaw, Michigan, and relocated to the U.S. in or around 1991, Defendant Al-Jundi changed his

   Twitter patterns entirely beginning in May 2018. He is not registered with the Department of

   Justice pursuant to the Foreign Agents Registration Act.

           47.      From November 2011 to early 2018, Defendant Al-Jundi’s tweets were primarily

   in English, with little mention of Saudi Arabia or the UAE. Defendant Al-Jundi participated in an

   interview with Mlive.com in or around September 11, 2001, in which he discussed his experiences

   as an Arab immigrant to the U.S. During the interview, Defendant Al-Jundi stated that he does

   not discuss Middle Eastern politics with his relatives because he is “focused on America” and sees

   himself “as an American more than anything.”

           48.      However, like Defendant Collins (as well as the other American nodes discussed

   below), Defendant Al-Jundi’s political views and Twitter activity changed drastically in the

   summer of 2018. Specifically, from May 4, 2018 to the present, Al-Jundi began tweeting almost


   7
    As discussed below, the “Recruiting Defendants” are defined as Defendants Zeinab, Al Menaia, Al-Owerde, and
   Al Otaibi.

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   exclusively in a colloquial form of the Arabic language. His Twitter account is now—similar to

   that of Defendant Collins and the other American nodes—increasingly devoted to praising Saudi

   Arabia, again using the gateway to the larger Conspiracy to defame and destroy anti-regime critics.

             49.   Indeed, in his Twitter biography, Defendant Al-Jundi states that his “heart is

   Saudi.”

             50.   Like the other Defendants, Defendant Al-Jundi routinely engages in interactions

   with the other named Defendants via Twitter, indicating collaboration among the Defendants to

   promote Saudi Arabian interests and policies. Specifically, as of September 29, 2020, Defendant

   Al-Jundi has had 1,985 interactions with the named Defendants via Twitter. Most, if not all, of

   these interactions relate to praising Saudi Arabia, UAE, MBS, or other acolytes of MBS, while

   consistently attacking dissidents of the Saudi and UAE regimes:

                         User                       Interactions with           Date of First
                                                   user by @SamJundi        Identifiable Mention
           ScheyChris (Defendant Schey)                    707              2018-11-11 21:57:14
        TarekLebanon1 (Defendant Zeinab)                   556              2018-11-22 17:55:42
      Orchardcitygal & Smiity646 (Defendant                190              2018-12-07 16:09:05
                       Smith)
       KateStewart22 (Defendant Al Qahtani)                 186             2018-12-05 1:24:43
      Turki_AlOwerde (Defendant Al-Owerde)                  176             2019-02-21 13:03:55
            305local (Defendant Collins)                    158             2018-11-03 2:50:41
      Al_menaia, almenaia & Faisal_Almenaia                  12             2018-12-04 1:02:23
              (Defendant Al Menaia)

                                       Defendant Annette Smith

             51.   Defendant Annette Smith is an American citizen who resides in Patterson,

   California and is a former Patterson City Council member. She operates a Twitter account with

   the handle @orchardcitygal, which was used to disseminate the leaked personal photographs of

   Ms. Oueiss on June 10, 2020, spread other disparaging messages aimed at Ms. Oueiss, and post




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   messages promoting pro-Saudi disinformation. She is not registered with the Department of

   Justice pursuant to the Foreign Agents Registration Act.

          52.     From the time that Defendant Smith’s Twitter account was created in or around

   2009, until September 2018, Defendant Smith’s account never once mentioned or otherwise

   referenced Saudi Arabia or Defendant MBS.

          53.     However, in October 2018, Defendant Smith’s Twitter activity drastically changed.

   Despite her California residency, and an apparent lack of connection to the Saudi regime, the vast

   majority of Defendant Smith’s Twitter activity revolves around posting pro-Saudi propaganda.

          54.     Moreover, Defendant Smith began consistently pushing a pro-Saudi narrative

   through her Twitter account, which has consistently been the gateway to the larger Conspiracy and

   efforts to abuse and defame those critical of the Saudi and UAE regimes:




          55.     As of September 29, 2020, Defendant Smith has had 4,251 interactions with the

   named Defendants via Twitter. Most, if not all, of these interactions relate to praising Saudi

                                                  17
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   Arabia, UAE, MBS, or other acolytes of MBS, while consistently attacking dissidents of the Saudi

   and UAE regimes:

                       User                      Interactions         Date of First Identifiable
                                                 with user by                 Mention
                                                @orchardcitygal
          305local (Defendant Collins)               1521               2018-10-22 19:55:48
      KateStewart22 (Defendant Al Qahtani)           1339               2018-10-29 15:31:04
         ScheyChris (Defendant Schey)                 796               2018-10-22 19:55:48
        Turki_AlOwerde (Defendant Al-                 386               2019-02-14 17:12:12
                    Owerde)
       TarekLebanon1 (Defendant Zeinab)                105               2018-11-24 4:30:56
         SamJundi (Defendant Al-Jundi)                 104               2019-02-04 2:33:11

                                     Defendant Christanne Schey

          56.     Defendant Christanne Schey is an American citizen who resides in Houston, Texas,

   and is a former employee of broadband company Frontier Communications. She maintains a

   Twitter account with the @ScheyChris handle, posting pro-Saudi disinformation. Defendant

   Schey is not registered with the Department of Justice pursuant to the Foreign Agents Registration

   Act.

          57.     From 2010 to 2013, Defendant Schey operated one Twitter account: @chris_schey.

   Using this Twitter account, Defendant Schey posted approximately 100 tweets in three and a half

   years. During this timeframe, Defendant Schey never mentioned the Middle East.

          58.     In March 2016, Defendant Schey created her second Twitter handle, @ScheyChris.

   Like Defendants Collins and Smith, Defendant Schey’s Twitter account was bereft of any mention

   of Middle Eastern politics until approximately 2018—the same year that Defendants Collins, Al-

   Jundi and Smith began to drastically shift their activity on Twitter towards pro-Saudi propaganda

   and policies. Using the Twitter handle @ScheyChris, Defendant Schey has tweeted over 240,000

   times and has a Tweet frequency of approximately 340 tweets per day. Since April 2018,




                                                  18
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   Defendant Schey’s Twitter account has been fervently pro-Saudi, while Schey routinely attacks

   perceived foes of the regime.

          59.     Like other Defendants, Defendant Schey routinely interacts and collaborates with

   the named Defendants via Twitter to promote pro-Saudi propaganda, again the gateway to the

   subsequent onslaught of social media assault and defamation against Saudi and UAE critics.

   Specifically, as of September 29, 2020, Defendant Schey has had 33,108 interactions with the

   members of the Network. Most, if not all, of these interactions relate to praising Saudi Arabia,

   UAE, MBS, or other acolytes of MBS, while consistently attacking dissidents of the Saudi and

   UAE regimes:

                       User                      Interactions with           Date of First
                                               user by @ScheyChris       Identifiable Mention
      KateStewart22 (Defendant Al Qahtani)             10395             2018-06-30 13:48:34
        Turki_AlOwerde (Defendant Al-                  9607              2019-02-14 16:26:59
                    Owerde)
          Orchardcitygal & Smiity646                    5448              2018-12-08 1:43:41
                (Defendant Smith)
          305local (Defendant Collins)                  5279             2018-06-27 18:09:10
         SamJundi (Defendant Al-Jundi)                  1894             2018-08-28 13:39:32
       TarekLebanon1 (Defendant Zeinab)                  326              2018-11-22 1:18:27
             Al_menaia, almenaia &                       159              2018-06-13 2:15:41
         Faisal_Almenaia (Defendant Al
                     Menaia)

   Other Americans in the Network

          60.     While not named Defendants in this lawsuit, several other members of the Network

   are U.S. citizens who were, upon information and belief, recruited by the Recruiting Defendants

   to join the Network to promote pro-Saudi disinformation and attack the Saudi regime’s perceived

   enemies.     These individuals include Shay Marie Evans (@shayevasatchel), Sarah Whalen

   (@SarahWhalen7), and South Florida resident Pamela Steinhauser (@Spencer_Diana24).




                                                 19
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          61.     These other American Nodes had no apparent connection to Saudi Arabia, any of

   the Network members, or the Middle East for that matter, until the summer of 2018. Then, like

   the other members of the Network discussed above, these American citizens began promoting pro-

   Saudi disinformation on Twitter and heavily interacting with the foreign and American nodes in

   the Network.

          62.     The acts of each Defendant named above contributed, in part, to the Conspiracy to

   harm Plaintiff personally and professionally for her critical reporting of the Saudi and UAE

   regimes, and Defendant MBS’s involvement in the murder of Mr. Khashoggi and others.

   The Leaders of the Conspiracy

                                             Defendant MBS

          63.     Defendant Mohammed bin Salman bin Abdulaziz Al Saud is the current Crown

   Prince of the Kingdom of Saudi Arabia. MBS resides in Riyadh, Saudi Arabia, and has effectively

   been in a position of power since he pushed aside all rivals in 2017 through a brutal crackdown on

   family members and business leaders. Defendant MBS is not the head of state for the Saudi

   regime, nor is Defendant MBS the head of the Saudi regime’s government. The current head of

   state for the Saudi regime (as well as the current Prime Minister of Saudi Arabia) is King Salman

   bin Abdulaziz Al Saud—Defendant MBS’s father.

          64.     Defendant MBS is known for his brute authoritarian governing, his extrajudicial

   murder of Mr. Khashoggi, and his use of violence to extinguish free speech, contrary views, and

   dissidence, inside and outside of his kingdom. Defendant MBS has been the driver for the bombing

   of Yemen in which war-induced famine has resulted in the starvation of 13 million civilians.

   Defendant MBS coordinates, directs, and supervises the Saudi regime’s actions in silencing its

   critics and brutally attacking its enemies.



                                                  20
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           65.      The CIA has concluded that Defendant MBS ordered the assassination of Mr. Jamal

   Khashoggi.8

           66.      Defendant MBS is also behind the orchestration of several hacking operations

   against perceived enemies, including prominent American citizens9 and others, as set forth in the

   Complaint, as well as other attempted murders.10

           67.      As discussed in detail in this Complaint, Defendant MBS (along with assistance

   from his agents) has built a network of dozens of individuals—including real-life American

   citizens—who together have tweeted more than 1.1 million times, reaching over 435,000 Twitter

   accounts, attacking perceived enemies stateside and abroad, including Plaintiff.

                                                   Defendant MBZ

           68.      Defendant Mohammed bin Zayed Al Nahyan (“Defendant MBZ”) is the current

   Crown Prince of the UAE and Deputy Supreme Commander of its Armed Forces. Defendant MBZ

   resides in Abu Dhabi. In 2019, the New York Times named Defendant MBZ the most powerful

   Arab ruler. However, Defendant MBZ is neither the head of state for the UAE, nor is he the head

   of the UAE’s government. The current President and head of state for the UAE is Sheikh Khalifa

   bin Zayed, who was named as the President by the UAE Federal Council in November 2004.

           69.      Defendant MBZ supported Defendant MBS prior to Defendant MBS’s rise to

   power in June 2017. According to numerous sources, Defendant MBZ has served as a mentor to,




   8
      See https://abcnews.go.com/Politics/blindingly-obvious-saudi-crown-prince-ordered-khashoggi-
   murder/story?id=59305430 (noting that a State Department official stated it was “blindingly obvious” based on the
   CIA’s assessment that Defendant MBS orchestrated the murder of Mr. Jamal Khashoggi).
   9
      See https://www.theverge.com/2020/1/21/21075968/amazon-jeff-bezos-hacked-saudi-arabia-crown-prince-
   whatsapp-message (noting that Defendant MBS “targeted and successfully hacked” Jeff Bezos’ mobile device
   through a WhatsApp message).
   10
      See https://www.cnn.com/2020/08/06/politics/saudi-assassination-plot-allegations/index.html (noting that a
   lawsuit has been filed against Defendant MBS in the District of Columbia for Defendant MBS’s role in hiring a
   group of hitmen known as the “Tiger Squad” to assassinate a former top aide of the Saudi regime).

                                                          21
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   and has influenced the decision making of, Defendant MBS. Defendant MBZ has also been the

   mastermind behind policies that both he and Defendant MBS have jointly aligned with,

   specifically on issues of foreign policy.11

              70.     Under Defendant MBZ’s influence, the UAE has matured its offensive cyber

   effects operations capabilities and its intelligence services through the Signals Intelligence

   Agency, which is the UAE’s equivalent of the CIA. The Signals Intelligence Agency and

   Defendant DarkMatter are headquartered in the same building in Abu Dhabi.12

                                                Defendant DarkMatter

              71.     Defendant DarkMatter is an Emirati cybersecurity company founded in or around

   2014 or 2015.           DarkMatter supports the UAE’s cybersecurity development, controls the

   sophisticated hacking group known as “Project Raven,” and partners with the Signals Intelligence

   Agency to conduct offensive cyber effects operations against targets of the UAE regime. For

   example, DarkMatter, through Project Raven, was responsible for the targeted hacking of the

   chairman of Al Jazeera in June 2017 in the immediate aftermath of the onset of the blockade of

   Qatar, led by Saudi Arabia and the UAE.

                                                      Defendant al Bannai

              72.     Defendant al Bannai is a citizen of the United Arab Emirates and currently the

   Secretary General of the Advanced Technology Research Council (ATRC) and the CEO and

   Managing Director of EDGE GROUP, a state-owned defense conglomerate that include more than

   two dozen defense subsidiaries. Al Bannai is likewise a founder of DarkMatter and maintained an




   11
        See, e.g., https://www.middleeasteye.net/opinion/will-mbs-bring-end-saudi-dynasty
   12
        See https://theintercept.com/2019/06/12/darkmatter-uae-hack-intercept/

                                                            22
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   ownership interest in DarkMatter during the period when DarkMatter hacked Plaintiff’s mobile

   device.

                                                 Defendant Al Qahtani

              73.      Defendant Saud Al Qahtani is a Saudi Arabian citizen and former royal court

   advisor to Defendant MBS. Prior to his dismissal in 2018, he was Defendant MBS’s media

   consultant, as General Supervisor of the Center for Studies and Media Affairs. His role in

   supervising Mr. Khashoggi’s murder is well known, as the U.S. Department of Treasury has

   specifically noted that he was “part of the planning and execution of the operation that led to the

   killing of Mr. Khashoggi.”13 Defendant Al Qahtani has admitted working for and conspiring with

   Defendant MBS on Twitter: “Do you think I’m acting on my own whim? I am a civil servant and

   a faithful executioner of the orders of the King and the Crown Prince.”14 Defendant MBS enlisted

   Defendant Al Qahtani to act on his behalf, and Defendant Al Qahtani has publicly accepted his

   role as an agent acting on behalf of Defendant MBS. As a “civil servant and faithful executioner”

   of Defendant MBS, Defendant Al Qahtani was (and continues to be) knowingly controlled by

   Defendant MBS.

              74.      Defendant Al Qahtani is no stranger to the creation of bot networks to push Saudi

   disinformation while attacking political opponents, or the use of unlawful hacking efforts and

   techniques to attack the Saudi regime’s political opponents and critics.

              75.      Investigative journalists have noted Defendant Al Qahtani’s supervisory role in

   “social media and surveillance operations for the Royal Court,” and have noted that he was




   13
        See https://home.treasury.gov/news/press-releases/sm547
   14
        See https://www.pbs.org/wgbh/frontline/film/the-crown-prince-of-saudi-arabia/transcript/

                                                             23
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   nicknamed “Lord of the Flies” for his extensive use of bots (which have also been referred to as

   “flies”) in trying to control the narrative on Twitter.15

           76.      Defendant Al Qahtani has made statements on various hacking platforms, including

   popular hacking site Hack Forums, implicating himself in the Saudi regime’s intrusion and spying

   methods. Indeed, on the site Hack Forums, he has tried to hire hackers to manage his botnet

   campaigns for $500 per month, has purchased 525 accounts on YouTube in furtherance of a social

   media influence operation, and has hired hundreds of individuals in Saudi Arabia to staff his troll

   farms on Twitter.16

           77.      As recently as June 2019, Defendant Al Qahtani was linked to an attempted hack

   of The Guardian, which reported that it was targeted by a Saudi hacking team at the order of

   Defendant Al Qahtani. Indeed, on June 19, 2019, The Guardian published an article describing

   how a source from inside the Saudi regime provided them with a “confidential internal order” from

   within the Saudi government. This confidential order, signed by Defendant Al Qahtani, 17

   instructed a tech-savvy team of hackers to carry out the “penetration” of The Guardian’s computer

   servers “in complete secrecy.”18

           78.      It is no surprise then that Twitter suspended Defendant Al Qahtani’s Twitter

   account last year. The Wall Street Journal described Defendant Al Qahtani as “an architect of a

   Saudi government crackdown on dissidents in recent years that included the murder of journalist

   Jamal Khashoggi in Istanbul in 2018[.]” The Wall Street Journal also reported that, despite

   Defendant Al Qahtani being formally stripped of his title after it was revealed that he was involved



   15
      See https://www.bellingcat.com/app/uploads/2019/06/Lord-of-the-Flies_Redacted_6-25-19.pdf
   16
      See id.
   17
      See id.
   18
      See https://www.theguardian.com/world/2019/jun/19/guardian-told-it-was-target-of-saudi-hacking-unit-after-
   khashoggi-killing

                                                          24
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   in the murder of Jamal Khashoggi, he has “continued to play an important role in the kingdom as

   an informal advisor to [Defendant MBS].”19

           79.      Consistent with his role as a trusted advisor to Defendant MBS, Defendant Al

   Qahtani spearheaded the Conspiracy against Ms. Oueiss. That is, not only did he lead the creation

   and subsequent management of large botnets on Twitter to continuously ridicule Ms. Oueiss, but

   through his position as a board member of the MiSK Foundation, he also led the recruitment and

   establishment of the Network which was organized at the behest of Defendant MBS—with the

   objectives of promoting Saudi disinformation and attacking critics of the Saudi regime, such as

   Ms. Oueiss. Additionally, aside from organizing the creation of the Network, Defendant Al

   Qahtani also led one of the (successful) campaigns to unlawfully hack Ms. Oueiss’ mobile device,

   and then subsequently disseminate the private photographs of Ms. Oueiss via Twitter.

           80.      Defendant Al Qahtani created and manages one of the masked Twitter accounts at

   issue in this lawsuit: The Twitter handle @KateStewart22. With tweets in English and Arabic,

   @KateStewart22, upon information and belief, is a masked Twitter Account created and operated

   by at least two individuals: Defendant Al Qahtani and an unidentified person based in England.

   It is not registered with the Department of Justice pursuant to the Foreign Agents Registration Act.

   It has verified its identity with Twitter and discovery will reveal the true identity of the user(s) of

   this account, along with Defendant Al Qahtani’s instrumental role in creating and managing the

   account and its secondary user(s).

                                               Defendant Al-Asaker

           81.      Defendant Bader Al-Asaker is a Saudi Arabian citizen who serves as the head of

   the Private Office for Defendant MBS with the rank of Minister since he was appointed by a royal


   19
     See https://www.wsj.com/articles/twitter-suspends-former-saudi-official-linked-to-crackdown-khashoggi-killing-
   11568999068

                                                          25
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   decree in July 2017. He has also served as “Secretary General” of Defendant MiSK Foundation

   as recently as May 20, 2020.

           82.      Similar to Defendant Al Qahtani, Defendant Al-Asaker is no stranger to using

   unlawful techniques to promote pro-Saudi disinformation while simultaneously attacking critics

   of the Saudi regime. In November 2019, the U.S. Department of Justice charged two former

   Twitter employees with spying for Saudi Arabia.20 Specifically, two former Twitter employees

   had allegedly been paid by the Saudi regime to unlawfully access the personal information of more

   than 6,000 Twitter accounts in 2015.21 The two former Twitter employees charged with spying at

   the behest of the Saudi regime reported directly to Defendant Al-Asaker.22

           83.      Defendant Bader Al-Asaker, acting in his capacity as Secretary General of

   Defendant MiSK Foundation and as agent of Defendant MBS, has had an integral role in

   cultivating the network of foreign and domestic citizens to carry out the Conspiracy against Ms.

   Oueiss. In his role as Secretary General for the MiSK Foundation, Al-Asaker has traveled to the

   U.S. on numerous occasions since 2014, including but not limited to, March, April and September

   of 2018—the time period during which the American Nodes were being recruited to join this

   Conspiracy against Ms. Oueiss.

           84.      Upon information and belief, Defendant Al-Asaker, acting at the behest, and under

   the control, of Defendant MBS and in his official capacity as CEO of Defendant MiSK, led the

   (successful) campaign (with Defendant Al Qahtani) to unlawfully hack Ms. Oueiss’ mobile device,

   and then subsequently disseminate the private photographs of Ms. Oueiss via Twitter. Defendant




   20
      See https://thehill.com/policy/international/middle-east-north-africa/469332-former-twitter-employees-charged-
   with-spying
   21
      Id.
   22
      Id.

                                                           26
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   Al-Asaker’s conduct in furthering the Conspiracy against Ms. Oueiss was not performed in his

   official capacity as a public minister or agent of the Saudi regime.

                                                 Defendant Al Arabiya

              85.     Defendant Al Arabiya is a broadcast and internet news network with offices in

   Saudi Arabia and the U.S., with broadcast and internet posts circulating in the U.S. and across the

   world. Al Arabiya operates a studio in Washington, D.C. with reporters assigned to the White

   House press pool. Al Arabiya is owned and controlled by Defendant MBS and functions as a mere

   instrumentality of Defendant MBS. Al Arabiya is an instrumentality of Defendant MBS and is

   dominated and controlled by Defendant MBS such that there is no independent existence between

   Al Arabiya and Defendant MBS. Al Arabiya, at the behest of Defendant MBS, posted false and

   doctored payment documents from Al Jazeera, intending to defame and disparage Ms. Oueiss.

              86.     Al Arabiya regularly broadcasts state propaganda and is currently the subject of a

   defamation lawsuit in the District of Columbia filed by Mr. Khaled Saffuri—a friend of the late

   Mr. Khashoggi.23

                                                Defendant Saudi 24 TV

              87.     Defendant Saudi 24 TV is a broadcast and internet news network with offices in

   Saudi Arabia and the U.S., with broadcast and internet posts circulating in the U.S. and across the

   world. Saudi 24 TV operates a studio in Washington, D.C., with reporters assigned to the White

   House press pool. Saudi 24 TV is owned by the Saudi Ministry of Communications, which in

   turn, is a mere instrumentality of, and is dominated and controlled by, Defendant MBS.

              88.     Upon information and belief, Defendant Zeinab, discussed below, in his capacity

   as a Saudi 24 TV employee, and at the instruction of Defendant MBS and other high-ranking



   23
        See Khaled Saffuri v. Al Arabiya, et al., No. 1:19-cv-03005-EGS, ECF No. 1 (D.D.C. Oct. 7, 2019).

                                                            27
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   officers of Saudi 24 TV who are dominated and controlled by Defendant MBS, recruited various

   American citizens (including the named Defendants in this Complaint) to join a propaganda

   campaign intended to promote Saudi Arabian interests and attack the Saudi regime’s critics,

   including Ms. Oueiss.

                                          Defendant MiSK Foundation

           89.      Defendant Prince Mohammed Bin Salman bin Abdulaziz Foundation, also known

   as the MiSK Foundation (“MiSK”), was founded by Defendant MBS in his personal capacity and

   holds itself out as a non-profit foundation.

           90.      Until as recently as May 2020, Defendant Al-Asaker was the Secretary-General of

   Defendant MiSK. Previously, Defendant Al Qahtani was a board member of Defendant MiSK.

   Upon information and belief, MiSK serves as a front for Defendants MBS, Al Qahtani, and Al-

   Asaker’s objectives in creating a network of foreign and domestic agents willing to carry out

   unlawful discrete operations here in the U.S., including the Conspiracy against Ms. Oueiss.

           91.      MiSK has significant contacts with the U.S. It regularly transacts business and

   hosts events throughout the country.24

                                                 Defendant SACM

           92.      Defendant Saudi Arabian Cultural Mission (“SACM”) is a Virginia-based entity

   that holds itself out as an agency created by the Saudi government to “meet the educational and

   cultural needs of Saudis studying in the United States.” However, upon information and belief,




   24
     See, e.g., https://www.yahoo.com/news/saudi-prince-mohammed-bin-salman-
   064827849.html?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xlLmNvbS8&guce_referrer_sig=AQ
   AAANnbktYtzMFDs_0VXE8bGOVBfaobEq1KEBYhXCaDvoVR9a73CZV2HqEMmmryDVqrSjoRv8C3oqdJNX-
   Vnoq15a6kuMjEau7hFxlP0X3t3URFxj8iFY86UHscbIeNEJMHdNSBsRQevWcTFb3cSMCqDzyh8YTB4GyldYH
   OeHXRFrsb (noting that Defendant MBS hosted an event for MiSK in California in 2018); see also
   https://www.pri.org/stories/2019-09-25/saudi-youth-forum-new-york-public-library-cancelled-after-activists-outcry
   (noting that MiSK held an event in New York City in 2019).

                                                          28
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   Defendant SACM is under the control and domination of Defendants MBS, Al Qahtani and Al-

   Asaker who have used SACM as a front to recruit and establish a network of individuals who will

   carry out unlawful discrete operations, including the Conspiracy against Ms. Oueiss. Defendant

   Al Menaia, a member of the Conspiracy, founded the SACM Chapter for Western Oregon

   University. Defendant SACM is a mere instrumentality of Defendant MBS.

             93.      The Saudi regime closely monitors students when they leave Saudi Arabia to study

   in the U.S. and utilizes SACM to achieve that objective. For example, a student (speaking on the

   basis of anonymity due to fear of reprisal from the Saudi regime) that attended an unnamed

   Midwestern college stated that, at a school event in 2017, they and another person were present

   for the explicit purpose to record their findings and report back to the Saudi embassy what they

   had experienced at the event.25

             94.      Upon information and belief, Defendant SACM’s representatives and objectives

   directly overlap with those of Defendant MiSK, and the Saudi regime. Indeed, as noted above,

   two former employees of Twitter, originally from Saudi Arabia, were groomed by Defendant Al-

   Asaker through MiSK to become operatives of the Saudi regime and use their positions on the

   inside of Twitter to unlawfully spy on Saudi dissidents.26 Defendant MiSK relies on the student

   outreach capabilities of SACM to engage individuals to undertake its initiatives, such as the MiSK

   Future Path Career Essentials program.27




   25
        See https://www.pbs.org/newshour/world/saudi-students-in-u-s-say-their-government-watches-their-every-move
   26
        See https://www.nytimes.com/2019/11/06/technology/twitter-saudi-arabia-spies.html
   27
        See https://misk.org.sa/hcd/services/misk-future-path/

                                                           29
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   The Foreign Nodes (“Recruiting Defendants”)

                                             Defendant Zeinab

          95.     Defendant Tarek Abou Zeinab is a Lebanese radio and TV broadcaster who works

   out of Lebanon for Defendant Saudi 24 TV, a television broadcast channel owned by the Saudi

   Arabian government, and which is an instrumentality of, and is controlled and dominated by

   Defendant MBS. He operates the Twitter handle @tareklebanon1, which was created in April

   2011. With approximately 24,600 Twitter followers, he primarily tweets in English and works in

   concert with his co-conspirators to create pro-Saudi propaganda and engage U.S. citizens to

   populate the content on their accounts. He is not registered with the Department of Justice pursuant

   to the Foreign Agents Registration Act.

          96.     Defendant Zeinab is a well-connected Lebanese political operative who has

   traditionally focused on, and been involved with, Lebanese-based political interests and

   organizations. However, beginning in 2017, Defendant Zeinab shifted his political activities in a

   more explicit pro-Saudi direction.

          97.     Upon information and belief, Defendant Zeinab began his employment with

   Defendant Saudi 24 TV in 2018. He has since used his Twitter accounts to personally attack and

   defame Ms. Oueiss in response to Ms. Oueiss’ criticism of the Saudi regime:




                                                   30
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          98.    On November 25, 2018, Defendant Zeinab expressly acknowledged the

   establishment of a media initiative aimed at amplifying pro-Saudi and pro-Defendant MBS

   content, involving direct attacks on the coverage of the Saudi regime and Defendant MBS by media

   outlets including Al Jazeera, CNN, and The Washington Post—all in the wake of the murder of

   Mr. Khashoggi. As noted above, the Network of Twitter users is comprised of real-life foreign

   and domestic citizens.

          99.    Furthermore, on December 30, 2018, shortly after Defendant Zeinab expressly

   acknowledged the development of the Network, Defendant Zeinab, remarkably, acknowledged

   creating the Network in coordination with the conspiratorial objectives set forth by Defendant Al

   Qahtani:




                                                  31
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          100.    This brazen admission is significant evidence of Defendant Zeinab’s relationship

   and coordination with the named-Defendants in this Complaint via Twitter. As an agent of

   Defendant Saudi 24 TV (the alter ego of Defendant MBS), Defendant Zeinab instructed,

   influenced, and otherwise directed the American Nodes to post pro-Saudi disinformation, and to

   attack Defendant MBS’s perceived enemies, including Ms. Oueiss.

          101.    For example, as of September 29, 2020, Defendant Zeinab has had at least 2,438

   interactions via Twitter with Defendants. It is noteworthy that most, if not all, of these interactions

   relate to praising Saudi Arabia, UAE, MBS, or other acolytes of MBS, while the remainder of the

   interactions involve attacks on Saudi and UAE critics:




                                                     32
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                      User                     Interactions with   Date of First Identifiable
                                                    user by                Mention
                                               @Tareklebanon1
          305local (Defendant Collins)                944            2018-10-22 15:20:13
         SamJundi (Defendant Al-Jundi)                745             2018-08-27 9:07:46
         ScheyChris (Defendant Schey)                 390             2018-10-13 19:45:31
      KateStewart22 (Defendant Al Qahtani)            273             2018-11-17 2:27:36
          Orchardcitygal & Smiity646                   86            2018-12-06 13:18:15
               (Defendant Smith)


          102.   Indeed, Defendant Zeinab has (publicly and privately) instructed numerous

   members in the Network to post pro-Saudi propaganda videos. He also assists members of the

   Network, such as Defendant Collins, in editing such videos:




                                                 33
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          103.    Defendant Zeinab knowingly acted at the direction of, and under the control, of

   Defendants MBS, Al Qahtani, Al-Asaker, as well as high-ranking officers of Defendant Saudi 24

   TV, in recruiting American (as well as foreign) citizens into the Network.

                                         Defendant Al Menaia

          104.    Defendant Faisal Al Menaia is a Saudi citizen who studied in the U.S. and the

   United Kingdom and previously worked for Defendant SACM while in the U.S. Defendant Al

   Menaia is also the founder of the SACM Chapter for Western Oregon University. In concert with

                                                  34
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   Defendant Zeinab (and their larger conspiracy to promote pro-Saudi disinformation, while

   attacking critics of the Saudi regime), Defendant Al Menaia has instructed several of the U.S.-

   based Defendants named in this Complaint to spread disinformation about other countries in a

   video on Twitter and also assisted in the production of videos posted on Twitter by the same U.S.-

   based Defendants named in this Complaint.

          105.    As of September 29, 2020, Defendant Al Menaia has had 1,174 interactions with

   the Defendants via Twitter. It is noteworthy that most, if not all, of these interactions relate to

   praising Saudi Arabia, UAE, MBS, or other acolytes of MBS, while the remainder of the

   interactions involve attacks on Saudi and UAE critics:

                  User                Interactions with user by       Date of First Identifiable
                                            @Al_Menaia                        Mention
         305local (Defendant                     346                    2018-11-25 20:08:26
               Collins)
      TarekLebanon1 (Defendant                    253                    2018-11-25 19:45:50
               Zeinab)
        ScheyChris (Defendant                     208                     2018-06-13 2:14:35
               Schey)
      KateStewart22 (Defendant                    205                    2018-11-25 10:56:41
             Al Qahtani)
           Turki_AlOwerde                         101                    2019-02-15 15:17:09
        (Defendant Al-Owerde)
       SamJundi (Defendant Al-                     61                    2018-11-26 23:55:06
                Jundi)

          106.    Tweets between Defendant Al Menaia and Defendant Collins in December 2018

   indicate that various members of the Network, including Defendants Al Menaia and Collins, have

   planned to meet for dinner at stateside restaurants, such as the Olive Garden:




                                                   35
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          107.   Defendant Al Menaia has also targeted defamatory tweets at, and harassed, Ms.

   Oueiss, mentioning Ms. Oueiss’ Twitter account in 11 tweets between October 8, 2018 and, most

   recently, January 25, 2020. In a January 25, 2020 tweet mentioning Ms. Oueiss, Defendant Al

   Menaia (@al_menaia) referred to Ms. Oueiss as a “dog” and threatened that “we will surround




                                                36
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   you” in response to Ms. Oueiss’ coverage of Defendant MBS’s orchestration of the hack of Jeff

   Bezos’ mobile device.

          108.    Defendant Al Menaia would never have made such a threat to Ms. Oueiss without

   MBS and other co-conspirators’ approval, tacit or otherwise. MBS has never denounced this co-

   conspirator’s brazen threat and recognition of Saudi involvement in the killing of Mr. Khashoggi.

   Essentially, these circumstances are effective admissions on MBS’s part.

                                         Defendant Al-Owerde

          109.    Defendant Turki Al-Owerde is a Saudi national and Editor-in-Chief of The Herald

   Report—a news agency based in the UAE. Defendant Al-Owerde uses his platform, including as

   a contributor to The Milli Chronicle, to spread pro-Saudi disinformation and has influenced the

   shifts in content posted on social media by the U.S.-based Defendants in this Complaint.

          110.    Defendant Al-Owerde maintains a leadership role in the Network. He engaged the

   U.S.-based Defendants throughout the fall of 2018, indoctrinating them by challenging their

   religious beliefs and influencing them over time.

          111.    As of September 29, 2020, Defendant Al-Owerde has had 11,602 combined

   interactions with the Defendants on Twitter. It is noteworthy that most, if not all, of these

   interactions relate to praising Saudi Arabia, UAE, MBS, or other acolytes of MBS, while the

   remainder of the interactions involve attacks on Saudi and UAE critics:

                    User                                  Mentions of
                                                          @Turki_AlOwerde
                    ScheyChris (Defendant Schey)          9607
                    KateStewart22 (Defendant Al           838
                    Qahtani)
                    305local (Defendant Collins)          479
                    Orchardcitygal (Defendant Smith)      386
                    SamJundi (Defendant Al-Jundi)         176
                    Al_Menaia (Defendant Al Menaia)       101
                    TarekLebanon1 (Defendant Zeinab)      15

                                                  37
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          112.    Defendant Al-Owerde is loyal to Defendant Al Qahtani.             For example, on

   December 23, 2019, Defendant Al-Owerde publicly appealed Twitter’s suspension of Defendant

   Al Qahtani’s Twitter account, calling Twitter’s actions “merely a bias for political charges related

   to ideology espoused by Twitter administration and not related to justice.” He called for Defendant

   Al Qahtani’s account to “be restored immediately.”




          113.    Defendant Al-Owerde has taken part in directing members of the Network to

   promote pro-Saudi propaganda and to defame Ms. Oueiss. Additionally, The Herald Report’s



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   Twitter account which, upon information and belief, is operated by Defendant Al-Owerde, has

   instructed members of the Network, including Defendant Collins, to follow certain Twitter users:




          114.   Defendant Al-Owerde also engages in defamatory activity toward Ms. Oueiss. On

   October 12, 2018, he mocked Ms. Oueiss on Twitter in response to her reporting of Saudi

   involvement in the killing of Mr. Khashoggi. Defendant Al-Owerde further insulted Ms. Oueiss


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   on June 9, 2020 after the release of the hacked and stolen photographs of Ms. Oueiss, referring to

   Ms. Oueiss as a “clown” and referring to Ms. Oueiss’ employer as a “platform of terrorism.”

                                          Defendant Al Otaibi

          115.    Defendant Awwad Al Otaibi is a Saudi Arabian citizen and works in the

   Information Technology and Security field. A 2017 Idaho State University College of Business

   graduate in the U.S., he was recruited by Defendants MBS and Al-Asaker through the MiSK

   Foundation to take part in leading the cultivation of the Network and, ultimately, the Conspiracy

   against Ms. Oueiss.

          116.    Since graduating from college in 2017, Defendant Al Otaibi has spent time in both

   the U.S. and Saudi Arabia. He has been present in the U.S. on numerous occasions, including but

   not limited to, from December 2017 through February 2018.

          117.    On June 2, 2018, Defendant Al Otaibi received a certification from Defendant

   MiSK for completing an “Interview Skills Program with Distinction.” Upon information and

   belief, Defendant MBS used the MiSK Foundation as a front to develop and coordinate

   relationships with networks of agents willing to carry out discrete and unlawful operations.




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          118.   Since receiving his certificate from MiSK, Defendant Al Otaibi has maintained a

   leadership role in the Network. He regularly interacts with members of the Network, including

   the U.S.-based Defendants. Although he deactivated and then reactivated his Twitter account in

   June 2020, historical tweets by members of the Network show a close connection between him

   and the named Defendants. Specifically, as of September 29, 2020, he has had at least 4,495

   interactions with members of the Network via Twitter. It is noteworthy that most, if not all, of

   these interactions relate to praising Saudi Arabia, UAE, MBS, or other acolytes of MBS, while the

   remainder of the interactions involve attacks on Saudi and UAE critics:




                                                  41
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                       User                               Mentions of
                                                          @awwadsalotaibi
                       ScheyChris (Defendant Schey)       1832
                       KateStewart22 (Defendant Al        1063
                       Qahtani)
                       305local (Defendant Collins)       728
                       Orchardcitygal (Defendant Smith)   486
                       TarekLebanon1 (Defendant           179
                       Zeinab)
                       Al_Menaia (Defendant Al Menaia)    127
                       Tarek1975leb (Defendant Zeinab)    73
                       SamJundi (Defendant Al-Jundi)      7


          119.   Defendant Al Otaibi has hosted members of the Network at his home in Saudi

   Arabia. Indeed, on December 9, 2019, Defendant Collins—a Florida resident, with no apparent

   connections to Saudi Arabia prior to the creation of the Network—attended Al Otaibi’s home and

   posted a photograph of their dinner on Twitter:




                                                     42
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          120.    Furthermore, Defendant Al Otaibi has had multiple instances of direct interaction

   with Prince Sattam bin Khalid bin Nasser Al Saud, indicating that Defendant Al Otaibi is a close

   ally of the Saudi regime and royal family.

                                         John Doe Defendants

          121.    John Does 1-20 are entities or individuals who, upon information and belief, are

   otherwise subject to the jurisdiction of this Court. The specific identities of the various Does are

   unknown to Plaintiff at this time, but Plaintiff is informed and believes, and thereon alleges, that

   each of the Does is responsible in some manner for the occurrences alleged in this Complaint,

   including hacking Plaintiff’s mobile device and anonymously posting false statements on various


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   social media platforms and websites to harm Plaintiff, and that the Defendants each were the

   agents, alter egos, and employees of each other, acting within the course and scope of said agency

   and employment of each of the other defendants, participated with, conspired with and aided and

   abetted each of the other defendants, and in doing the things herein alleged, were acting within the

   scope of such partnership, agency, representation or employment with the knowledge,

   authorization, consent and ratification of the other defendants. Plaintiff will seek leave to amend

   this Complaint to insert the true names and capacities of each Doe when the same are ascertained.

   I.     JURISDICTION AND VENUE

          A.        Subject Matter Jurisdiction

          122.      This Court has subject matter jurisdiction over Plaintiff’s claims under 28 U.S.C. §

   1331 because this case arises under the Alien Tort Statute (“ATS”), 28 U.S.C. § 1350, the

   Computer Fraud and Abuse Act, 18 U.S.C. § 1030, and the Stored Communications Act, 18 U.S.C.

   §§ 2701-12. This Court has supplemental jurisdiction over Plaintiff’s state law claims under 28

   U.S.C. § 1367.

          123.      Exercising subject matter jurisdiction over Plaintiff’s ATS claim is consistent with

   the requirements and policies underlying the ATS. Specifically, Plaintiff’s claim under the ATS

   is predicated on conduct that touches and concerns the U.S. As demonstrated throughout this

   Complaint, Defendants MBS, MBZ, Al Qahtani, and Al-Asaker spearheaded a conspiracy

   involving considerable conduct in the U.S. This conduct includes recruiting U.S. citizens to spread

   stolen and doctored photographs of Plaintiff with the goal of defaming and destroying Plaintiff’s

   credibility and intimidating Plaintiff from reporting on Saudi Arabia’s and UAE’s human rights

   abuses in efforts to maintain and polish these regimes’ public image in the U.S.

          124.      As detailed herein, Defendants MBS and MBZ, working in concert with Defendant

   DarkMatter and other Defendants, expressly targeted Plaintiff in various locations, including the

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   U.S., to hack Plaintiff’s personal information contained in her personal mobile device using

   spyware known as Pegasus for the express purpose of violating her privacy and manipulating that

   information to cause Plaintiff harm. Defendants MBS and MBZ further recruited American nodes,

   residing in the U.S., to join them in the Conspiracy to disseminate pro-Saudi disinformation and

   the stolen photographs of Plaintiff in the United States and elsewhere.

          B.      In Personam Jurisdiction

          125.    Exercising personal jurisdiction over Defendants MBS, MBZ, DarkMatter, al

   Bannai, Al Arabiya, Saudi 24 TV, Al Qahtani, Al-Asaker, MiSK, Zeinab, Al-Owerde, and Al

   Otaibi is proper in this case, consistent with Fed. R. Civ. P. 4(k)(2)(B), the U.S. Constitution and

   laws. As discussed throughout this Complaint, Defendants MBS, MBZ, Al Arabiya, Saudi 24 TV,

   Al Qahtani, Bader Al-Asaker, DarkMatter, al Bannai, MiSK, Al-Owerde, and Al Otaibi engaged

   in intentional tortious conduct which was directed at and occurred in the U.S.

          126.    Specifically, Defendant DarkMatter, under the direction of Defendants MBS,

   MBZ, and with assistance from Defendants al Bannai, Al Qahtani and Bader Al-Asaker, among

   others, hacked Plaintiff’s mobile device and unlawfully extracted personal and confidential

   photographs and content from Plaintiff’s mobile device. These Defendants then instructed the

   U.S. Defendants, among others, to disseminate this stolen content, with the intent of disparaging

   and intimidating Plaintiff—an internationally renowned journalist—in an attempt to dissuade

   Plaintiff from reporting on Saudi Arabia’s and the UAE’s human rights abuses.

          127.    Defendants MBS, Al Qahtani, and Al-Asaker through their roles at MiSK and

   SACM recruited several of the named U.S. Defendants in this Complaint, with the goal of

   establishing a network of U.S. citizens who would improve Saudi Arabia’s public image, while

   simultaneously working in a cohesive fashion to destroy, disparage and defame any critic of the

   Saudi regime, with the hopes of improving MBS’s and his regime’s public image and relationship
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   with the U.S. government. Indeed, since Defendant MBS’s involvement in the murder of Mr.

   Khashoggi was made public, Defendant MBS has spent billions of dollars in “efforts to whitewash

   [Saudi Arabia’s] dismal [human] rights record.”28

          128.    This conduct carried out by Defendant MBS—including the establishment of a

   network of U.S. citizens to disseminate stolen information from Plaintiff’s mobile device—was in

   violation of the law of nations and treaties of the U.S. Specifically, the Convention on Cybercrime,

   also known as the Budapest Convention on Cybercrime, which the U.S. ratified in 2006, addresses

   cybercrime (such as the hacking of Plaintiff’s mobile device) with the goal of harmonizing national

   laws and increasing cooperation amongst various nations to prevent the ever-increasing acts of

   offensive cyber effects operations. The Convention on Cybercrime’s main objective is “to pursue

   a common criminal policy aimed at the protection of society against cybercrime, especially by

   adopting appropriate legislation and fostering international co-operation.”29

          129.    The Convention on Cybercrime has been signed or ratified by at least 65 countries,

   including the U.S.30 MBS and MBZ’s actions in using DarkMatter to hack Plaintiff’s mobile

   device with the goal of obtaining Plaintiff’s confidential information to intimidate her from

   reporting on Saudi and UAE’s human rights abuses violates universally agreed upon legal

   principles.   Specifically, Defendants MBS and MBZ’s actions of directing the hacking of

   Plaintiff’s mobile device and obtaining personal and confidential information regarding Plaintiff

   was in violation of several provisions and objectives of the Convention on Cybercrime.31




   28
      See https://www.hrw.org/news/2020/10/02/saudi-arabia-image-laundering-conceals-abuses
   29
      See https://www.coe.int/en/web/conventions/full-list/-/conventions/treaty/185
   30
      See https://www.coe.int/en/web/cybercrime/parties-observers
   31
      See
   https://rm.coe.int/CoERMPublicCommonSearchServices/DisplayDCTMContent?documentId=09000016800cce5b

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          130.    This Court also has personal jurisdiction over all Defendants pursuant to Florida’s

   long-arm statute, Fla. Stat. Ann. § 48.193 (West 2016), because Defendants, either personally,

   through an agent, and as a result of their participation in the Conspiracy described herein,

   committed a tortious act within this state and entered into the Conspiracy to commit tortious acts

   while present in this state. Specifically, Defendants Collins and Al-Jundi, while present in Florida,

   acted at the behest of Defendants MBS, Al Qahtani and Bader Al-Asaker (among others) in posting

   stolen photographs of, and defamatory narratives about, Plaintiff on Twitter.

          131.    This Court also has personal jurisdiction over Defendants Collins and Al-Jundi

   because both Defendants reside in Florida.

          C.      Venue

          132.    Venue in this judicial district is proper pursuant to 28 U.S.C. § 1391(b)(2) because

   a substantial part of the events or omissions giving rise to the claim occurred in this county.

   Confidential information stolen from Plaintiff’s personal mobile device was accessed and

   otherwise distributed via social media by at least one Defendant who resides in this district.

   Additionally, the Conspiracy at issue in this Complaint was entered into in this district.

          133.    Venue in this district is also proper pursuant to 28 U.S.C. § 1391(b)(3) because

   there is no judicial district in a State in which all non-foreign defendants are residents, and

   Defendants Collins and Al-Jundi are subject to personal jurisdiction in Florida.

          D.      Alter Ego Allegations

          134.    As noted above, Defendants Al Arabiya, Saudi 24 TV, MiSK, and SACM are

   dominated and controlled by Defendant MBS and are mere instrumentalities of MBS.

          135.    Al Arabiya is a propaganda arm of the Saudi government and, more specifically,

   Defendant MBS. While Al Arabiya is listed as a wholly-owned subsidiary of Dubai-based Middle

   East News, FZ-LLC, Defendant MBS extorted a majority share of ownership in Al Arabiya

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   (approximately 60%) from Al Arabiya’s former majority owner, Waleed Al Ibrahim (the founder

   of the Middle East Broadcasting Center). 32 As a result, Defendant Al Arabiya is a mere

   instrumentality of, and is dominated and controlled by, Defendant MBS.

           136.    As a result of Defendant MBS’s majority ownership in Al Arabiya, Al Arabiya has

   been rated as a “questionable” news source “due to excessive government censorship that results

   in the publication of pro-state propaganda.”33

           137.    Saudi 24 TV is also a propaganda arm of the Saudi government and Defendant

   MBS. Saudi 24 TV is part of Riyadh-based 24 Media Group. According to 24 Media Group, its

   partners include the Saudi Ministry of Media, General Entertainment Authority, Ministry of

   Education and the Interior Ministry. Upon information and belief, Defendant MBS directs and

   controls the commercial activities and employees of Defendant Saudi 24 TV, which is a mere

   instrumentality of, and is dominated and controlled by, Defendant MBS.

           138.    A U.S.-based program created by the Saudi Arabian government in 1951, SACM

   is a “part of the Saudi Embassy in Washington, D.C.,” and is “responsible to the Saudi Arabian

   Ministry of Higher Education.”34 Thus, similar to Defendant Saudi 24 TV, SACM has close ties

   to and involvement with the Saudi Ministry of Education.35 Upon information and belief, the



   32
      See https://mediabiasfactcheck.com/al-arabiya/
   33
      See id.
   34
      See
   https://www.sacm.org/AboutSACM/History.aspx?__cf_chl_jschl_tk__=446d9946bffa6fe9344c515f77605d659d71b
   5e9-1602529859-0-AQXdXbPyAwJdEYpG-
   PnhCy4YvEiwhYFrL3crBni2xxbaHjmf5tUeT6R7x7VORPNalcjd_TA2dfAFSjsmtZaQ5lDG4y2PiJU3AkE0k7fMS
   AVZmndb7moK9r-
   OpiDvrxWnwPNEpmFfPTnNr46dLCJGVDgXcm7dUiaAmlbfQucb75go2kBisTuBiHd2I1vPg1Oi4Ladf84uNLyQR
   Bxr8ufwi-
   F4C8DICrOmc_Y5kiM2amBuz6cwY6NXuuT367eoot4K6GZUl6Wvdmb2RFsEuekQj5IU1glTH7hONzWoYGoV5
   iGP
   35
      See https://sacm.org.au/saudi-arabia-merges-higher-education-education-ministries-and-appoints-dr-azzam-al-
   dakhil-minister-of-education/ (discussing merger of Higher Education and Education Ministries by the Saudi
   regime).

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   operations of both SACM and MiSK are ultimately controlled and dominated by, and are the mere

   instrumentalities of, Defendant MBS.

          139.    Upon information and belief, Defendant MBS utilizes SACM and MiSK to carry

   out secretive operations here in the U.S., under the guise of providing educational initiatives and

   opportunities to Saudi Arabian citizens. In reality, Defendant MBS has, through his agents (e.g.,

   Defendants Al Qahtani and Al-Asaker) used SACM and MiSK to recruit various members of the

   Network described above, all with the intention of promoting pro-Saudi disinformation and

   attacking the regime’s critics, such as Ms. Oueiss.

          140.    Accordingly, Al Arabiya, Saudi 24 TV, SACM, and MiSK are the mere

   instrumentalities of MBS. MBS dominates and controls these four entities and their operations

   and has used each entity to engage in improper and unlawful conduct described in this Complaint,

   which has proximately caused Plaintiff’s harm.

          141.    Defendant MBS has never denounced the actions of these alter-ego co-conspirators

   in their campaign against Ms. Oueiss for her coverage of Mr. Khashoggi’s murder. Essentially,

   these circumstances are effective admissions on MBS’s part.

                                     FACTUAL BACKGROUND

   I.     SAUDI ARABIA’S AND THE UAE’S MODUS OPERANDI IN HACKING AND
          CONDUCTING OFFENSIVE CYBER EFFECTS OPERATIONS AGAINST ITS
          PERCEIVED ENEMIES

          142.    Since Defendant MBS’s rise to power, the Saudi regime has substantially increased

   the exercise of its sphere of influence in the region to undertake various methods of offensive cyber

   effects operations against its critics. Indeed, Defendant Al Qahtani, at the behest of Defendant

   MBS, has consistently used “bot” accounts on Twitter to conduct massive cyber-attacks on Saudi

   and UAE critics.



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            143.     One of the most well-known use of bot accounts to disparage and defame a critic

   of the Saudi and UAE regimes is the ongoing campaign against Ms. Oueiss. Indeed, Defendants

   MBS and MBZ have been identified as utilizing “bot” accounts to launch misogynistic campaigns

   against Ms. Oueiss. From late 2018 through 2020, Defendants MBS and MBZ have launched an

   online campaign against Ms. Oueiss and another female anchor, in which tens of thousands of

   tweets intended to smear Ms. Oueiss were published by Saudi-based and UAE-based bot

   accounts.36

            144.     Not only were thousands of “bot” accounts involved in this campaign against the

   two female anchors, but various verified accounts of the Saudi and UAE regimes were also

   identified as participating in the misogynistic campaign.37

            145.     As it relates to Mr. Khashoggi, Twitter had its hands full in trying to suspend

   various Saudi-based bot accounts in connection with the media coverage surrounding Mr.

   Khashoggi’s death. As noted above, Twitter was also infiltrated by two individuals (now former

   employees of Twitter), alleged to be spies for the Saudi Arabian government (who reported to

   Defendant Al-Asaker) who were caught “snooping into thousands of private accounts seeking

   personal information about critics of the Riyadh government[.]”38

            146.     Apparently seeking more effective means to disparage and intimidate critics of

   their regimes—such as Ms. Oueiss—Defendants MBS and MBZ have sought out more advanced

   hacking tools to carry out surveillance against their dissidents.



   36
      See, e.g., https://english.alaraby.co.uk/english/news/2020/6/11/al-jazeera-journalists-targeted-in-misogynistic-
   saudi-linked-smear-campaign; see also https://www.dw.com/en/middle-east-female-journalists-resist-targeted-
   online-abuse/a-54224906
   37
      See https://english.alaraby.co.uk/english/news/2020/6/11/al-jazeera-journalists-targeted-in-misogynistic-saudi-
   linked-smear-campaign
   38
      See https://www.npr.org/2019/11/06/777098293/2-former-twitter-employees-charged-with-spying-for-saudi-
   arabia

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           147.     Due to its previously limited offensive cyber effects operations capabilities,

   Defendant MBS, with Defendant Al Qahtani’s coordination, procured advanced hacking tools

   from Israeli cyber firm NSO Group Technologies Limited (“NSO Group”) and Italian cyber firm,

   Hacking Team. Specifically, in 2018, the Saudi regime acquired NSO Group’s Pegasus spyware,

   and utilized this spyware to access over 400 WhatsApp messages between Mr. Khashoggi and

   another Saudi individual to track Mr. Khashoggi in the weeks leading up to his assassination.39

           148.     Mr. Khashoggi is not the only victim of the Saudi regime’s use of Pegasus spyware.

   Indeed, in May 2018, at the direction of Defendant MBS, Saudi hacking teams used NSO Group

   hacking tools to hack the mobile device of Amazon founder, Jeff Bezos. Similar to the hacking of

   Mr. Khashoggi’s friend’s mobile device, Defendant MBS infected Mr. Bezos’s phone with the

   spyware through WhatsApp messaging.40

           149.     In a complaint filed in October 2019, Facebook alleged that NSO Group used

   WhatsApp servers and vulnerabilities to spread the Pegasus spyware to 1,400 mobile devices in

   an attempt to target journalists, human rights activists, and others. 41 As discussed below,

   suspicious WhatsApp messages were identified on Ms. Oueiss’ personal mobile device around the

   time her device was hacked.

           150.     The UAE, at the direction of Defendant MBZ, has also leveraged its mature

   offensive cyber effects operations capabilities against dissidents, its own citizens, and in support




   39
      See https://english.alaraby.co.uk/english/indepth/2019/10/3/this-israeli-spyware-helped-saudi-arabia-spy-on-
   khashoggi (noting that the Citizen Lab confirmed that a Saudi individual’s text messages with Mr. Khashoggi were
   hacked by the military-grade spyware, Pegasus, and that it was “deployed at the request of the Saudi government.”).
   40
      See https://www.theverge.com/2020/1/21/21075968/amazon-jeff-bezos-hacked-saudi-arabia-crown-prince-
   whatsapp-message (noting that Defendant MBS “targeted and successfully hacked” Jeff Bezos’ mobile device
   through a WhatsApp message).
   41
      WhatsApp Inc. v. NSO Group Technologies Limited, et al., No. 4:19-cv-07123-PJH (N.D. Cal.)

                                                           51
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   of joint Saudi and UAE interests, such as diminishing the influence of Al Jazeera and its

   employees.

              151.    For example, on June 19, 2017, 14 days after Saudi Arabia, the UAE, Bahrain, and

   Egypt severed diplomatic ties with Qatar, the mobile devices of Faisal Al-Qassam (an Al Jazeera

   host) and Hamad bin Thamer Al Thani (chairman of Al Jazeera) were hacked and media contents

   from the devices were obtained. These hacks, and the hacks of other journalists around that time,

   have been attributed to an advanced hacking group known as Project Raven (also known as Stealth

   Falcon), which has close ties to Saudi Arabia, the UAE, and Defendant DarkMatter.42

              152.    Project Raven was originally contracted by a Baltimore-based cybersecurity firm

   CyberPoint International (“CyberPoint”). CyberPoint was contracted by the UAE in 2012 to assist

   and advise the newly developed Signals Intelligence Agency.

              153.    CyberPoint hired former U.S. National Security Agency (NSA) employees to work

   in the UAE in support of the Signals Intelligence Agency under the name Project Raven. In 2016,

   control of Project Raven transferred from CyberPoint to a domestic Emirati company, Defendant

   DarkMatter, which also brought an unknown number of U.S. employees to the UAE to continue

   working on Project Raven. DarkMatter is headquartered in the same building in Abu Dhabi as the

   Signals Intelligence Agency and was founded by Al Arabiya. The Signals Intelligence Agency

   has served as Project Raven’s primary client by identifying groups and organizations to be targeted

   by Project Raven’s hacking teams. While the stated goal of Project Raven is to assist in the

   targeting and hacking of terror organizations, there is evidence that Project Raven has been (and

   continues to be) used to target dissidents and individuals that speak out against the UAE and its

   allies (e.g., Saudi Arabia).



   42
        See https://www.reuters.com/investigates/special-report/usa-raven-media/

                                                            52
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              154.    In 2016, Project Raven, under the control of Defendant DarkMatter, procured a

   spyware (hacking) tool called Karma. This spyware tool could be used to hack Apple iPhones

   remotely with little effort. Using Karma, and at the behest of the Signals Intelligence Agency,

   Project Raven reportedly hacked the iPhones of Sheikh Tamim bin Hamad Al Thani—the Emir of

   Qatar. Moreover, threat intelligence and research firms opined that Project Raven used Karma to

   target additional Al Jazeera employees and other journalists based in England, in the immediate

   aftermath of the blockade of Qatar in support of joint objectives with Saudi Arabia.

              155.    More recently, the UAE has ramped up its spying and hacking operations against

   dissidents. Individuals such as Tahnoun bin Zayed Al Nahyan (the son of the founder of the UAE

   and Defendant MBZ’s brother), Hamad Al-Shamsi (the Attorney General of the UAE), and

   Khaldoun Khalifa Al Mubarak (Chairman of Abu Dhabi’s Executive Affairs Authority) have been

   instrumental in these efforts.

              156.    Tahnoun has been the National Security Advisor for the UAE since February 2016.

   Tahnoun is linked to three companies behind the development and deployment of the messaging

   and Voice-over-IP (VoIP) application, ToTok, which has since been determined to have been used

   by the UAE government for domestic surveillance.43 After it was revealed that the ToTok app was

   being used by Tahnoun to spy on dissidents of the UAE, Google and Apple immediately removed

   ToTok from their app stores.

              157.    The ToTok application is linked not only to Tahnoun, but also to Defendant

   DarkMatter. Specifically: Group 42 Holding Ltd (“Group 42”) was the creator the ToTok app.

   Al-Shamsi is the sole director of Group 42, which is a parent company of technology firm PAX




   43
        See https://www.nytimes.com/2019/12/22/us/politics/totok-app-uae.html

                                                           53
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   AI (previously known as Pegasus LLC).               Pegasus LLC was formerly part of Defendant

   DarkMatter.44

           158.    Totok’s primary developer is Group 42. Three of the UAE-based companies behind

   ToTok’s creation and development, including Group 42, are all heavily influenced by Tahnoun.

           159.    For example, the current CEO of Group 42, Peng Xiao, is the former CEO of

   Pegasus LLC when it was a division of Defendant DarkMatter. Tahnoun and Peng Xiao’s working

   relationship is widely known and ongoing. In fact, Tahnoun and Peng Xiao were in Abu Dhabi

   together as recently as October 27, 2020, where they were photographed together (middle left, and

   far left, respectively):




   44
     See https://medium.com/@billmarczak/how-tahnoon-bin-zayed-hid-totok-in-plain-sight-group-42-breej-
   4e6c06c93ba6

                                                        54
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           160.    Tahnoun has been active in procuring hacking tools for years. For example,

   Mauqah Technology – a company previously owned by Tahnoun – purchased spyware systems

   from Italian cyber firm Hacking Team, and was implicated in the 2012 hacking of human rights

   defendant and UAE dissident Ahmed Monsoor. Defendant Al Qahtani has also procured spyware

   systems from Hacking Team previously for similar operations in Saudi Arabia.

           161.    Project Raven and the use of NSO Group hacking infrastructure was also identified

   in the 2016 attempted hacking of Ahmed Monsoor, who is currently serving a prison sentence in

   the UAE related to his reporting on the regime, for which United Nations rights experts have urged

   his immediate release.45

           162.    Saudi Arabia has relied on the UAE as a close ally to conduct offensive cyber

   effects operations. Both Saudi Arabia and the UAE are well known for utilizing NSO Group’s

   Pegasus spyware to engage in offensive cyber effects operations against their critics. The Israeli

   government (via NSO Group, the creator of Pegasus) sold the Pegasus spyware to the UAE in or

   around November 2019.46

           163.    The UAE uses its offensive cyber effects operations capabilities, which have been

   maturing for years, to target groups and individuals opposed jointly by the UAE and Saudi Arabia.

   While offensive cyber effects operations by Saudi groups have made it into mainstream headlines,

   particularly the use of NSO Group tools like Pegasus to spy on Jamal Khashoggi and Jeff Bezos,

   cyber operations by UAE groups, such as Project Raven, are more mature and have only come to

   light for mainstream audiences recently due to the involvement of American citizens with Project

   Raven through CyberPoint. As shown below, Defendants MBS and MBZ share a common disdain



   45
     See https://www.nytimes.com/2019/12/22/us/politics/totok-app-uae.html
   46
     See https://www.haaretz.com/middle-east-news/.premium-with-israel-s-encouragement-nso-sold-spyware-to-uae-
   and-other-gulf-states-1.9093465

                                                       55
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   for dissidents of their regimes, including Ms. Oueiss. Upon information and belief, Defendants

   MBS and MBZ coordinated the hacking of Ms. Oueiss’ personal mobile device and subsequently

   disseminated Ms. Oueiss’ personal and confidential information to the public to defame, humiliate

   and harm Ms. Oueiss.

   II.    DEFENDANTS’ CONSPIRACY TO HACK MS. OUEISS’ MOBILE DEVICE
          AND SUBSEQUENTLY DISSEMINATE PRIVATE AND FALSE
          INFORMATION REGARDING MS. OUEISS

          164.    About a year after the Saudi regime set its sights on Ms. Oueiss, they orchestrated

   a calculated and multi-faceted attack against her. The overall Conspiracy against Ms. Oueiss was

   broken down into separate steps and cells, utilizing individuals from various nations, including the

   U.S. Defendants, in violation of the Foreign Agent Registration Act (among other laws).

          165.    The Conspiracy consists of the following three separate stages: (1) the recruiting

   stage of the Conspiracy and the establishment of the Network of foreign and American agents; (2)

   the hacking stage of the Conspiracy; and (3) the dissemination, amplification, and defamation stage

   of the Conspiracy. The recruiting stage has been discussed and demonstrated above, setting forth

   the cultivation, connection, and collaboration between each member of the Conspiracy. The

   remaining two stages are set forth below:

          A.      Stage Two: The Hacking Stage

                  1.      Defendants Carry Out the Hacking of Ms. Oueiss’ Mobile Device

          166.    With a Network of American citizens already in place to sway the narrative on

   social media, Defendants MBS, MBZ and Tahnoun, among others, hatched a plan to invade Ms.

   Oueiss’ privacy, steal her personal and private information, and disseminate such personal

   information to the public with a false narrative. Defendants’ plan was intended to defame,

   disparage and otherwise humiliate Ms. Oueiss.



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          167.   Upon information and belief, as a key part of enhancing this effort, Defendant

   DarkMatter with Defendant al Bannai, consistent with prior hacking operations carried out at the

   behest of the UAE regime and Defendant MBZ, hacked into Ms. Oueiss’ personal mobile device,

   an iPhone XS, with the goal of obtaining confidential information about Ms. Oueiss and other

   individuals whom the Saudi and UAE regimes perceived as critics.

          168.   Over the course of September 2019 through May 2020, DarkMatter (along with

   other state-sponsored, sophisticated threat actors, operating at Defendant MBS’s and Defendant

   MBZ’s behest) attempted to, and did in fact, gain unauthorized access to the contents of Ms.

   Oueiss’ mobile device using multiple attack vectors. These attack vectors included exploiting

   vulnerabilities associated with WhatsApp, iMessage, Apple Mail, and Safari, establishing remote

   access through malicious executables delivered via WhatsApp, iMessage, or email, as well as

   accessing Ms. Oueiss’ Apple account and attempting to use the iCloud backup functionality to

   access media and other content remotely.

          169.   Starting as early as on or about October 1, 2019, through as recently as May 28,

   2020, multiple instances of suspicious iMessage messages, WhatsApp messages, and WhatsApp

   phone calls to Ms. Oueiss’ mobile device from unknown numbers were identified. These events

   indicate a coordinated hacking attempt, as they correlate to suspicious activity or processes

   observed running on Ms. Oueiss’ mobile device, which indicates that the suspicious messages

   were used to install malicious software on the device that could be used to access its contents

   remotely. During the first identified hacking events, which began on or about October 1, 2019,

   Ms. Oueiss was physically present in the U.S.

          170.   Upon information and belief, the manner in which contents on Ms. Oueiss’ mobile

   device were accessed, together with the underlying data ingress and egress from her device and



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   then-existing vulnerabilities in WhatsApp’s application, indicates that Defendants intentionally

   accessed WhatsApp’s servers located around the world, and possibly servers located in California,

   to access confidential content stored on the mobile device. These servers, in part, provided

   Defendants with access to files physically and electronically stored on Ms. Oueiss’ mobile device

   while such files were in electronic storage in such systems, as was done by foreign actors in a

   recent case involving the Pegasus spyware and access to WhatsApp servers. See WhatsApp Inc.

   v. NSO Grp. Tech. Ltd., No. 19-cv-07123-PJH (N.D. Cal.).

                         a.      April 14, 2020 – Ms. Oueiss Receives a Suspicious WhatsApp
                                 Message

          171.    On April 14, 2020 at 10:45:58 PM (AST), Ms. Oueiss’ mobile device received a

   WhatsApp message from a Moroccan phone number that was unknown to Ms. Oueiss. The

   WhatsApp message was suspicious, as Ms. Oueiss: (1) did not have any previous interaction with

   the sender; (2) the WhatsApp message was deleted from Ms. Oueiss’ mobile device in a method

   of deletion that does not match the method for typically deleted messages by the device owner or

   by the message sender (which is standard WhatsApp functionality); and (3) approximately two

   hours following receipt of the WhatsApp message, suspicious processes ran on Ms. Oueiss’ mobile

   device and a system crash occurred, all within two hours of receipt of this message. Investigation

   found a reference to the WhatsApp message on the device’s history. However, the WhatsApp

   message database, which typically includes entries for all messages (even those deleted by the user

   or sender), did not contain the entry. This means that the message had been deleted from the

   WhatsApp database, which would only be possible with privileged access to the WhatsApp

   database on the device.




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                              b.        April 15, 2020 – A Kernel Panic Occurs on Ms. Oueiss’ Mobile
                                        Device

            172.     As referenced previously, iOS crash logs from Ms. Oueiss’ mobile device further

   reveal that on April 15, 2020 at 01:06:07 AM (AST), a kernel panic47 occurred on the device. The

   kernel panic was associated with a likely successful attempt at a local privilege escalation, which

   occurs when a bug or vulnerability is exploited to gain administrative privileges on a device or

   application. This privilege escalation would most likely have caused the device to crash.

            173.     Multiple iOS vulnerabilities existed on Ms. Oueiss’ mobile device during this time

   and could have been leveraged to gain access to the device and achieve persistent access. Multiple

   WhatsApp on iOS vulnerabilities, with Common Vulnerabilities and Exposures (“CVE”) severity

   scores rated “High” or “Critical,” existed on Ms. Oueiss’ mobile device during this time. There

   were four (4) vulnerabilities that were published in October 2020 related to WhatsApp that were

   not remediated until after the suspicious WhatsApp message to Ms. Oueiss on April 14, 2020.

            174.     Immediately prior to and during the kernel panic, a suspicious process (watchdogd)

   was running. The process, “watchdogd,” is associated with NSO Group’s Pegasus malware and

   is not associated with any legitimate processes within the iOS operating system. The process,

   “watchdogd,” may be the process that likely achieved successful privilege escalation on the device.

            175.     What’s more, an additional process (itunesstored) was identified as running on Ms.

   Oueiss’ device at this time. While the “itunesstored” process is a legitimate iOS process associated

   with the iTunes Store, it is also associated with NSO Group’s Pegasus tool and it was observed

   during the crash. The process, “itunesstored,” was observed immediately after the kernel panic




   47
      A kernel panic is a safety measure taken by an operating system's kernel upon detecting an internal fatal error in
   which it either is unable to safely recover or cannot have the system continue to run without having a much higher
   risk of major data loss. In the absence of evidence of a legitimate process failing, a kernel panic can be an indicator
   of a vulnerability being exploited on the system.

                                                             59
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   event and immediately after the suspicious “watchdogd” process and mimicked observations that

   were reported in threat intelligence reporting on previous NSO Group Pegasus attack chains, which

   suggest vulnerabilities in it are exploited to execute malicious code in order to gain access to the

   target device.48

                               c.       April 17-20, 2020 – Unexplained Data Egress Occurs

              176.     Furthermore, on April 17, 2020, 43.32 MB of unexplained data egress occurred

   from Ms. Oueiss’ mobile device. This was two days before Defendants leaked the first group of

   stolen private photographs to social media, on April 19, 2020.

              177.     Additionally, between 12:56 AM (AST) and 06:59 PM (AST) on April 20, 2020,

   at least 5,207 individual files (images, videos, documents) were accessed on the file system of Ms.

   Oueiss’ mobile device. This quantity far exceeds the average daily file access count. Ms. Oueiss

   did not explore or access these files on April 20, 2020, which demonstrates that the files were

   cataloged by an actor with unauthorized remote access to the device in a continued search for

   potentially disparaging content that could be leaked to social media. 4,615 of the 5,207 files were

   accessed between 12:56:09 AM (AST) and 07:58:52 AM (AST). Ms. Oueiss did not access files

   during this time. Additionally, based on technical data available and confirmation by Ms. Oueiss,

   Ms. Oueiss was asleep between 03:00 AM (AST) and 07:00 AM (AST), during which time 2,423

   files were accessed on the device.

                               d.       Additional Information Obtained Through Investigatory Efforts

              178.     Furthermore, a malicious URL was identified from deleted content on Ms. Oueiss’

   personal mobile device that could be used for command and control activity and to send commands

   and data back and forth to Ms. Oueiss’ mobile device. Suspicious phone calls and messages



   48
        https://info.lookout.com/rs/051-ESQ-475/images/lookout-pegasus-technical-analysis.pdf

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   through WhatsApp were identified as possible delivery mechanisms of the malicious URL, which

   operated using Safari’s Private Browsing mode. The WhatsApp messages and some targeted

   browsing history were subsequently wiped from Ms. Oueiss’ mobile device in an attempt to

   eliminate evidence of the hacking activity. Significant data egress was observed by Ms. Oueiss’

   mobile device around the time of the suspicious WhatsApp phone calls and messages.

             179.   A network of ten (10) malicious web domains were identified on the mobile device.

   Malicious URLs found on Ms. Oueiss’ mobile device are associated with this network of domains

   and subsequent research of these domains identified a series of malicious executables meant to

   target and compromise mobile devices. Indicators of compromise that have been tied to advanced

   cyber operations against human rights activists were identified as existing on Ms. Oueiss’ mobile

   device.

             180.   While, at the time, Ms. Oueiss was unaware that her personal and confidential

   information had been stolen from her phone, the Defendants’ Conspiracy was well underway and,

   indeed, was close to fruition.

                    2.     The Content Stolen from Ms. Oueiss’ Mobile Device

             181.   There were at least two separate groups of personal photographs and videos stolen

   from Ms. Oueiss’ mobile device.

             182.   The first group of photographs that were stolen from Ms. Oueiss’ mobile device

   (and subsequently disseminated to the public, as discussed below) were personal photographs of

   Ms. Oueiss smoking a cigarette and drinking alcohol with her friends.

             183.   The second group of photographs that were disseminated to the public were

   screenshots of a private and personal video of Ms. Oueiss in a hot tub that her husband had

   recorded on Ms. Oueiss’ mobile device. In addition to being leaked, these screenshots of the video

   were doctored to make it falsely appear as though Ms. Oueiss were naked at the time of the video,
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   and were disseminated by Defendants with the false and repugnant narrative that Ms. Oueiss was

   engaged in sexual acts at the time of the video in exchange for financial incentives.

          184.    While these are the only groups of photographs that have been leaked thus far, the

   amount of data accessed on Ms. Oueiss’ mobile device indicates that there are additional private

   images, videos and documentation that were stolen but have not yet been leaked. Additionally,

   Ms. Oueiss has received numerous threats from anonymous actors that they intend to publish

   additional information obtained from her mobile device in the near future.

          B.      Stage Three: The Dissemination, Amplification and Defamation Stage

                  1.      On February 17, 2020, Defendants Released Doctored Financial
                          Documents Related to Ms. Oueiss and Her Employer

          185.    On February 17, 2020, Defendant Al Arabiya posted a supposed leaked document

   through its Twitter account, which purported to show financial rewards paid in bonuses to Al

   Jazeera journalists, including Ms. Oueiss (the “Doctored Financial Photo”).

          186.    The Doctored Financial Photo posted by Defendant Al Arabiya was inauthentic and

   was intended to defame Ms. Oueiss and harm her reputation. Specifically, Al Arabiya posted the

   Doctored Financial Photo and stated on Twitter that the Doctored Financial Photo revealed

   “hundreds of thousands in bonuses” were paid by the Emir of Qatar to certain journalists at Al

   Jazeera, including Ms. Oueiss.

          187.    The dissemination and reposting of the Doctored Financial Photo by pro-Saudi

   news outlets and social media accounts led to a significant spike in negative Twitter activity aimed

   at Ms. Oueiss that would only be surpassed by the subsequent photograph leaks.

                  2.      On April 19, 2020, Defendants Released the Stolen Private
                          Photographs of Ms. Oueiss Behind Masked Social Media Accounts

          188.    As discussed above, Saudi Arabia and the UAE routinely create and manage fake

   “bot” accounts on social media as a means of engaging in cyber warfare with their enemies and

                                                   62
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   critics. As part of the Conspiracy, Defendants MBZ, MBS, and Al Qahtani, among others, used

   the same means of cyber warfare to begin disseminating the stolen photographs of Ms. Oueiss

   throughout the Internet.

             189.   Specifically, Defendants MBS and MBZ directed Defendants Al Qahtani and Al-

   Asaker, among others, to create and utilize multiple accounts across various social media

   platforms, including Twitter, with the pre-meditated purpose of spreading disinformation about

   Ms. Oueiss. One of the key social media accounts created for this purpose was a Twitter account:

   @Uncareer1.

             190.   The Twitter account @Uncareer1 was created on or about February 4, 2020 and

   began tweeting on February 17, 2020 by replying to tweets Ms. Oueiss posted responding to the

   Doctored Financial Photo posted by Defendant Al Arabiya and other pro-Saudi news outlets.

             191.   The Arabic name associated with @Uncareer1 (‫ )ﺧﻔﺎﻳﺎ ﺍﻟﻤﻬﻨﺔ‬translates to “secrets of

   the profession” or “tricks of the trade.” The Twitter account @Uncareer1, and subsequently

   created related social media accounts, was created for the purpose of disseminating and spreading

   leaked and doctored content that disparaged key figures associated with Al Jazeera, including Ms.

   Oueiss.

             192.   Indeed, on April 18, 2020, a related account, @Uncareer20, was created on the

   social messaging app Telegram and posted links to prior tweets by the @Uncareer1 Twitter

   account. On April 19, 2020, both the @Uncareer1 Twitter account and then the @Uncareer20

   Telegram accounts posted private photographs of Ms. Oueiss drinking alcohol and smoking with

   friends in a new effort to damage her public image (the “Smoking Photos”). As noted above, these

   images were part of the content that was stolen from Ms. Oueiss’ mobile device as a result of the

   Defendants’ hacking efforts.



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          193.    After the dissemination of the Smoking Photos by @Uncareer1 on April 19, 2020,

   several prominent Saudi journalists identified the @Uncareer1 account on Twitter and encouraged

   Twitter users to follow @Uncareer1 to “learn stories of mercenaryism,” “prostitution wars”, and

   “obscenity.” One of these accounts is operated by Saudi journalist @hassanalsolami, which

   displays a link to the Saudi Ministry of Media on its account.

          194.    The user of @Uncareer1 created various social media accounts across numerous

   platforms using different naming conventions, all with the goal of utilizing the accounts to defame

   and otherwise injure Ms. Oueiss. This conduct was carried out at the behest of Defendants MBS

   and MBZ, with assistance from Defendants Al Qahtani and Al-Asaker.

                  3.     On June 2, 2020, Defendants Release Additional Stolen Photographs
                         of Ms. Oueiss Behind Masked Social Media Accounts

          195.    Once the Uncareer accounts had matured further in their following and reach—

   approximately eight months after Defendants had first attempted to hack Ms. Oueiss’ mobile

   device—in alignment with strategy set by Defendants MBS and MBZ, the Uncareer entity

   published the further disparaging photographs of Ms. Oueiss.

          196.    On June 2, 2020, @Uncareer20 (via Telegram) and @Uncareer1 (via Twitter)

   posted the contents of a stolen video from Ms. Oueiss’ mobile device, which Defendants had

   broken down into various screenshots (the “Personal and Private Photos”), for the world to see.

          197.    Over the next few days, pro-Saudi Twitter accounts continued to repost and amplify

   the content until it reached a critical mass of thousands of negative tweets directed at Ms. Oueiss

   on June 9, 2020.

          198.    Following Twitter’s suspension of the @Uncareer1 account in June 2020, the

   related telegram account (@Uncareer20) claimed to have established a further replacement

   account with the handle @almhnah1. This newly formed Twitter account has claimed to be the


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   origin of the leaked photographs of Ms. Oueiss and further claims that it has “only leaked 1% of

   what it has.” The biography of this Twitter account states “we return to renew the pain.”

          199.    Further Twitter accounts have been created and promoted by the @Uncareer20

   Telegram account and all purport to be managed by the same Uncareer entity: @Surr_1;

   @Absenttruth1; and @LeakSkip. More recently, on September 15, 2020, @LeakSkip posted a

   tweet indicating that “storms and currents” would further damage or destroy Al Jazeera employees,

   such as Ms. Oueiss.

                  4.     Defendants Utilize the Network to Continuously Amplify and
                         Disseminate the Stolen Photographs of Ms. Oueiss to the Public,
                         Along with a False Narrative Surrounding the Photographs

          200.    As discussed above, Defendant MBS had a Network of foreign and domestic agents

   prepared to disseminate defamatory information about Ms. Oueiss at a moment’s notice. Aside

   from their failures to register as foreign agents with the U.S. government pursuant to FARA

   registration requirements, Defendants committed far graver violations of U.S. law when they

   utilized this cohesive Network to carry out their Conspiracy against Ms. Oueiss.

          201.    Once the @Uncareer accounts had first posted the stolen photographs of Ms.

   Oueiss, the Recruiting Defendants (i.e., Zeinab, Al Menaia, Al-Owerde, and Al Otaibi) instructed

   the Network to spread the stolen content as a way to defame, injure and humiliate Ms. Oueiss.

          202.    Despite their knowledge that this content was stolen from Ms. Oueiss’ mobile

   device, and despite their knowledge that the narrative surrounding the Personal and Private Photos

   was false, various members of the Network agreed—at the behest of the Recruiting Defendants—

   to disseminate the stolen photographs of Ms. Oueiss on Twitter with the intent to disparage and

   defame Ms. Oueiss.




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                           a.     Defendant Collins’ Attacks on Ms. Oueiss in Furtherance of the
                                  Conspiracy

             203.   Defendant Collins has mentioned Ms. Oueiss in 12 tweets between August 30, 2019

   and June 11, 2020, which have been retweeted 493 times in total, including by co-conspirators in

   Florida and elsewhere.

             204.   Defendant Collins took part in defaming and otherwise launching personal attacks

   on Ms. Oueiss. For instance, on June 7, 2020, in response to Ms. Oueiss’ tweet about the stolen

   Personal and Private Photos, Defendant Collins responded and said that Ms. Oueiss was “in the

   position [she] is in” as a result of her own behavior—a similar (false) accusation hurled at Ms.

   Oueiss by Defendant Smith.

             205.   On June 9, 2020, Defendant Collins retweeted the Personal and Private Photos of

   Ms. Oueiss. Relatedly, on that same day, Defendant Collins posted another tweet regarding Ms.

   Oueiss, in which Defendant Collins claimed that Ms. Oueiss “sold [her]self to terrorists to get a

   story.”

             206.   That same day, Defendant Collins responded to a tweet by Ms. Oueiss which

   displayed a picture of deceased journalist Mr. Khashoggi, along with numerous other journalists

   who were either killed, detained or missing at the hands of the Saudi regime—a picture in solidarity

   with the freedom of press and journalism. Defendant Collins responded to Ms. Oueiss’ tweet and

   accused her of working for “Qatar who ended up hiding the Master Mind behind 9/11 when

   America was demanding for Justice.”

             207.   Defendant Collins has launched other defamatory attacks at Ms. Oueiss, including

   one instance where she claimed that Ms. Oueiss’ late father was involved in the Southern Lebanese

   Army and was responsible for killing various people. Notably, Defendants Collins and Smith were




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   both mentioned in the original tweet regarding Ms. Oueiss, indicating further collaboration

   between the Defendants to defame and disparage Ms. Oueiss:




          208.   Defendant Collins was instructed by the Recruiting Defendants, operating under

   the directed strategy of Defendant MBS, to personally attack Ms. Oueiss on Twitter.




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             209.   Defendant Collins agreed to take part in this defamatory attack on Ms. Oueiss—

   and did in fact take part in the attack by publishing the stolen Personal and Private Photos of Ms.

   Oueiss—all while Defendant Collins was present in Florida.

             210.   Defendant Collins’ tweets regarding Ms. Oueiss were defamatory, and were

   intended to embarrass, harass, and otherwise injure Ms. Oueiss by spreading disinformation

   regarding Ms. Oueiss.

             211.   Defendant Collins engaged in acts in furtherance of the Conspiracy (i.e., posting

   defamatory tweets regarding Ms. Oueiss) while she was physically present in Florida. At least

   161 of Defendant Collins’ Twitter followers self-report their location as Florida. Accordingly,

   Defendant Collins’ defamatory tweets regarding Ms. Oueiss were published and accessed in

   Florida.

             212.   Defendant Collins’ defamatory tweets regarding Ms. Oueiss were directed, in part,

   at audiences and followers within the vicinity of her primary location, including Miami, Florida,

   and elsewhere.      Defendant Collins’ Twitter handle—@305local—is further evidence that

   Defendant Collins was recruited to the Network, in part, to disseminate harmful information about

   critics of the Saudi regime (e.g., Ms. Oueiss) in Florida and to a Florida-based audience. Upon

   information and belief, Defendants MBS, Al Qahtani, Al-Asaker and the Recruiting Defendants

   intended to recruit members to the Network who were from major U.S. cities, such as Miami,

   Florida, to disseminate disinformation in major U.S. markets and cities.

                           b.     Defendant Al-Jundi’s Attacks on Ms. Oueiss in Furtherance of the
                                  Conspiracy

             213.   Defendant Al-Jundi has mentioned Ms. Oueiss in at least 39 original tweets, which

   have been retweeted at least 646 times in total. He has also retweeted three posts mentioning Ms.

   Oueiss.


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          214.    Defendant Al-Jundi often attacks Ms. Oueiss in response to her opinions about

   Saudi Arabia’s human rights abuses. For example, on June 16, 2019, Ms. Oueiss expressed

   concerns about the Saudi regime’s human rights abuses via Twitter. On June 23, 2019, Defendant

   Al-Jundi responded to Ms. Oueiss’ tweet with considerable praise for Saudi Arabia, in which

   Defendant Al-Jundi stated that Saudi Arabia has “god to take justice, as this is the destiny of the

   greats in history,” and that “rights and victories are taken away through disputes and force, and

   not as free gifts like how this mercenary [Oueiss].”

          215.    On June 9, 2020, Defendant Al-Jundi retweeted an image of a fabricated tweet—

   purporting to be a tweet from Ms. Oueiss’ verified Twitter account—in which Ms. Oueiss accused

   her colleague at Al Jazeera for being responsible for the Conspiracy against Ms. Oueiss. This

   tweet, however, was fabricated. Ms. Oueiss never tweeted this, and the image of the tweet was

   fabricated at the behest of Defendant MBS. Defendant Al-Jundi retweeted this fabricated tweet

   with full knowledge that Ms. Oueiss never published this statement, with the intent to further the

   goals of the Conspiracy, all while Defendant Al-Jundi was physically present in Florida.

          216.    On June 11, 2020, Defendant Al-Jundi attacked another Twitter user for defending

   Ms. Oueiss. In his tweet, he stated that Ms. Oueiss’ father was the “largest Israeli agent in the

   Army of Lahd[.]” As noted above, Defendant Collins hurled the same false allegation at Ms.

   Oueiss on the same day that Defendant Al-Jundi posted this.

          217.    On June 14, 2020, Defendant Al-Jundi, in response to a tweet mentioning Ms.

   Oueiss, replied as follows: “To the #Jacuzzi beings . . . oh Ghada, who like your father – he was

   the most senior Israeli agent in the Lahad Army – . . . who ate from the goodness of Saudi Arabia,

   was a model then excelled in betrayal. No matter how you tweet you will never be less

   honourable.”



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          218.    On June 18, 2020, Defendant Al-Jundi, in response to a tweet mentioning Ms.

   Oueiss, replied that Ms. Oueiss (and another journalist) were “all traitors” and were only concerned

   with money.

          219.    Defendant Al-Jundi was instructed by the Recruiting Defendants, operating under

   the directed strategy of Defendant MBS, to personally attack Ms. Oueiss on Twitter.

          220.    Defendant Al-Jundi agreed to take part in this defamatory attack on Ms. Oueiss—

   and did in fact take part in the attack—all while he was present in Florida. Defendant Al-Jundi

   posted defamatory tweets regarding Ms. Oueiss for the purpose of intimidating, harassing and

   otherwise disparaging Ms. Oueiss.

          221.    At least 59 of Defendant Al-Jundi’s Twitter followers self-report their location as

   Florida. Accordingly, Defendant Al-Jundi’s defamatory statements regarding Ms. Oueiss were

   accessed in Florida. Additionally, Defendant Al-Jundi, along with his co-conspirators, based upon

   the overall scheme, respond to defamatory tweets regarding Ms. Oueiss on Twitter from their

   respective locations, including in Florida, targeting, at the very least, Twitter users’ communities

   in their own respective locations and elsewhere.

                          c.     Defendant Annette Smith’s Attacks on Ms. Oueiss

          222.    Between June 24, 2019 and June 11, 2020, Defendant Smith has posted 24 original

   tweets mentioning Ms. Oueiss. Notably, Defendant Smith posted 17 of these 24 tweets following

   the publication of the Personal and Private Photos of Ms. Oueiss in June 2020.

          223.    On June 9, 2020, just one day before she began posting the stolen Personal and

   Private Photos of Ms. Oueiss, Defendant Smith accused Ms. Oueiss of choosing a “mercenary

   path” against Saudi Arabia.




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          224.    Subsequently, on June 10 and 11, 2020, Defendant Smith, like the other U.S.

   Defendants discussed above, posted the stolen Personal and Private Photos of Ms. Oueiss and said

   that Ms. Oueiss “should blame herself” for the leak of these photographs.

          225.    Throughout June 2020, Defendant Smith continued to post defamatory tweets about

   Ms. Oueiss, including outlandishly claiming that Ms. Oueiss was a “propagandist” who worked

   for “the same bastards that fund terrorism around the globe.”

          226.    Defendant Smith was influenced by the Recruiting Defendants, operating under the

   directed strategy of Defendant MBS, to personally attack Ms. Oueiss on Twitter.

          227.    Defendant Smith’s conduct was defamatory and consistent with the overall

   Conspiracy between her and the named Defendants in this Complaint, as well as the John Doe

   Defendants whose identities have yet to be discerned. The goal of the Conspiracy was to

   intimidate, harass, and otherwise harm Ms. Oueiss.




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           228.   In addition to directly tweeting defamatory statements about Ms. Oueiss, Defendant

   Smith, in furtherance of the Conspiracy against Ms. Oueiss, has retweeted other Defendants’

   defamatory statements about Ms. Oueiss. For example, Defendant Smith has retweeted Defendant

   Collins’ defamatory statement that Ms. Oueiss’ late father was involved in the Southern Lebanese

   Army:




           229.   At least 74 of Defendant Smith’s Twitter followers self-report their location as

   Florida. Accordingly, Defendant Smith’s defamatory tweets regarding Ms. Oueiss targeted, and

   were accessed by, third parties in Florida and elsewhere.

                         d.      Defendant Christanne Schey’s Acts in Furtherance of the
                                 Conspiracy

           230.   Defendant Schey has posted 12 tweets mentioning Ms. Oueiss between August 24,

   2018 and June 19, 2020.        Notably, on June 19, 2020 Defendant Schey interacted with

   @KateStewart22 (Defendant Al Qahtani) on Twitter, in which Defendant Schey congratulated

   @KateStewart22 for getting blocked by Ms. Oueiss on Twitter:


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          231.   Defendant Schey has retweeted numerous defamatory tweets regarding Ms. Oueiss

   that were originally published by the @KateStewart22 account.




          232.   At least 293 of Defendant Schey’s Twitter followers self-report their location as

   Florida. Accordingly, Defendant Schey’s tweets have been accessed by third parties in Florida.


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          233.   Defendant Schey was instructed by the Recruiting Defendants, operating under the

   directed strategy of Defendant MBS, to amplify the defamatory attacks on Ms. Oueiss on Twitter.

                         e.       Defendant Al Qahtani’s Use of @KateStewart22 to Attack Ms.
                                  Oueiss

          234.   As discussed above, upon information and belief, Defendant Al Qahtani operates

   and manages the @KateStewart22 Twitter account in conjunction with a currently unknown

   individual based in England.

          235.   The user(s) behind the @KateStewart22 has personally harassed Ms. Oueiss on

   Twitter since 2019. Specifically, in response to Ms. Oueiss’ tweet regarding the Saudi regime’s

   involvement in the murder of Mr. Khashoggi, @KateStewart22 personally attacked Ms. Oueiss,

   describing Ms. Oueiss as a “humiliating, beg-friend, low-grade wannabe TOOL,” and claiming

   that Ms. Oueiss was “lying about Saudi Arabia.”




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          236.      At any rate, co-conspirators, based upon the overall scheme, respond to Defendant

   Al Qahtani’s (@KateStewart22’s) defamatory tweets from their respective locations, including in

   Miami, Florida, targeting at the very least Twitter communities in their own respective location

   and elsewhere.

          237.      @KateStewart22’s attacks on Ms. Oueiss were so pervasive that Ms. Oueiss

   eventually blocked the account user on Twitter. When @KateStewart22 revealed that she had

   been blocked by Ms. Oueiss, Defendant Schey congratulated @KateStewart22.

          238.      @KateStewart22’s tweets regarding Ms. Oueiss were defamatory, and upon

   information and belief, were perpetrated in furtherance of the Conspiracy against Ms. Oueiss

   alleged in this Complaint.

          239.      At least 85 of @KateStewart22’s Twitter followers self-report their location as

   Florida. Accordingly, third parties accessed these defamatory statements in Florida.

          240.      Upon information and belief, once discovery is conducted regarding the Twitter

   account @KateStewart22, it will be revealed that this account was created by or at the direction of

   Defendants MBS and Al Qahtani for the purpose of harassing, intimidating, and disparaging Ms.

   Oueiss. Upon information and belief, discovery will also reveal that one of the primary users of

   the @KateStewart22 account is an England-based individual with significant connections to

   Defendants MBS and Al Qahtani, among other Saudi and UAE actors.

                    5.     The Harmful Effects and Breadth of the Attacks on Ms. Oueiss

          241.      The Network’s reach on Twitter is substantial.       Specifically, the U.S.-based

   Defendants have a combined Twitter following of at least 587 Florida residents.

          242.      The breadth of the attack on Ms. Oueiss was massive. Specifically, while the stolen

   Personal and Private Photos of Ms. Oueiss were published on June 2, 2020 by @uncareer1, it was

   the misinformation Network that circulated the posts and amplified the content over the coming
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   days, which led to a spike in mentions of Ms. Oueiss (@ghadaoueiss) on Twitter on June 9, 2020.

   While Ms. Oueiss is normally mentioned fewer than ten (10) times per day, she was mentioned in

   more than 1,500 tweets on June 9, 2020 alone.

          243.   As shown in the table below, each member of the Network has engaged in

   significant activity on Twitter in mentioning Ms. Oueiss between their account creation and

   September 29, 2020, which was conducted in part with the goals and objectives of the Conspiracy

   against Ms. Oueiss, all at the behest of Defendants MBS, MBZ, Al Qahtani, Al-Asaker and the

   Recruiting Defendants:

             User           Total Mentions    Total Mentions Total Mentions           Total
                             of ‘Ghada’ or        of ‫ﻏﺎﺩﺓ‬                           Number of
                            @ghadaoueiss       (Ms. Oueiss’                          retweets
                                                 name in
                                                 Arabic)

        KateStewart22            265                    1              266              718
        (Defendant Al
            Qahtani)
            SamJundi             155                    65             220              1342
        (Defendant Al-
             Jundi)
         tareklebanon1            74                    7               81              388
     (Defendant Zeinab)
        Orchardcitygal            37                    1               38              237
      (Defendant Smith)
            305local              26                    3               29               42
     (Defendant Collins)
           ScheyChris             49                    4               53               10
      (Defendant Schey)
         Tarek1975leb             14                    4               18              141
     (Defendant Zeinab)
       Turki_AlOwerde             7                     1               8               347
        (Defendant Al-
            Owerde)


          244.   Furthermore, since the dissemination of the stolen Personal and Private Photos, Ms.

   Oueiss has blocked over 300 foreign numbers due to scam and harassment calls. To this date, Ms.

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   Oueiss continues to be harassed and threatened by the social media influence army and the

   Uncareer network of accounts, who claim to possess additional private information that was

   unlawfully obtained from Ms. Oueiss’ personal mobile device during the hacking event. Ms.

   Oueiss continues to be harassed via phone call and text message by an ever-changing series of

   voice-over-internet-protocol (VOIP) or spoofed phone numbers with U.S. country codes.

             245.   On July 8, 2020, an opinion written by Ms. Oueiss titled “I’m a female journalist

   in the Middle East. I won’t be silenced by online attacks,” was published by The Washington

   Post.49

             246.   In August 2020, still two months after the leak of her personal photographs, Ms.

   Oueiss received an alert to her Google account that informed her of potential nation-state backed

   hacking attempts against her account, demonstrating that the Conspiracy against Ms. Oueiss is still

   ongoing.

             247.   This ongoing Conspiracy against Ms. Oueiss has caused her to suffer reputational

   harm, loss of business opportunities and income. Ms. Oueiss has also suffered emotional harm

   and mental anguish as a result of Defendants’ ongoing conduct. For example, Ms. Oueiss has

   visited Florida in the past to visit her family members who reside in this State. However, as a

   direct result of Defendants’ conduct, Ms. Oueiss is now scared to visit her family in Florida, as

   several Defendants (e.g., Collins and Al-Jundi) reside in Florida.

                    6.      None of the Defendants Have Satisfied FARA’s Registration
                            Requirements

             248.   The Foreign Agents Registration Act (“FARA”), codified at 22 U.S.C. § 611 et

   seq., requires that persons acting as agents of foreign principals who conduct political activity in



   49
     https://www.washingtonpost.com/opinions/2020/07/08/im-female-journalist-middle-east-i-wont-be-silenced-by-
   online-attacks/

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   the U.S. disclose the details of their relationship with the foreign principal and report all activities,

   receipts, and disbursements made on the foreign principal’s behalf. The purpose of FARA

   disclosures is to give the American people the ability to fully evaluate political communications

   that are sponsored by a foreign state and to prevent foreign states from concealing their attempts

   to influence U.S. government policy.

           249.    Defendants were aware they were foreign agents subject to FARA’s registration

   requirements, yet chose to act as unregistered, secret agents to Saudi Arabia and the UAE for

   months. In doing so, Defendants not only conspired to bombard the public with pro-Saudi and

   pro-UAE disinformation warfare against all perceived foes of the regimes, they also conspired to

   and conducted a scheme in violation of FARA, whereby the American Nodes in the Network

   received payments for their services, in secret, from the Saudi regime. Defendants conducted this

   scheme without registering with the U.S. Government and without otherwise indicating the

   warfare they conducted was linked to Saudi Arabia or the UAE.

           250.    In addition to violating FARA’s registration requirements, the American Nodes

   have also acted as foreign agents for Defendant MBS and the Saudi regime and have not notified

   the U.S. Attorney General. These acts and omissions by the American Nodes were committed in

   violation of 18 U.S.C. § 951, which requires those acting as agents of a foreign government to

   notify the U.S. Attorney General.

   III.    DEFENDANTS CREATE “FAKE NEWS” WEBSITES FOR THE PURPOSE OF
           SPREADING THE PERSONAL AND PRIVATE PHOTOS OF MS. OUEISS

           251.    Separate from Defendants’ coordinated use of Twitter (and other social media

   platforms) to attack and spread misinformation regarding Ms. Oueiss, upon information and belief,

   Defendants also created and operated various websites that were created specifically for the

   purpose of spreading disinformation about Ms. Oueiss.


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          252.    Upon information and belief, Defendants coordinated the creation and subsequent

   operation of the following websites to defame Ms. Oueiss: (1) FNGML www.fngml.com (2)

   Mashahed www.mashahed.org (3) http://www.watannews-sa.com/ (4) www.tahaanews.com (5)

   www.ahdathnet.net (collectively referred to herein as “John Does Websites”).

          253.    Each of the John Doe Websites participated in a united attack on Ms. Oueiss with

   respect to the stolen Personal and Private Photos. Specifically, between June 1, 2020 and June 20,

   2020, each of the John Doe Websites posted the stolen Personal and Private Photos, along with a

   uniform (false) narrative that Ms. Oueiss was present at a “sexual” and “pornographic” party when

   the photographs were taken, and described Ms. Oueiss an employee of a “terrorist platform.”

          254.    The contents of the numerous articles posted by the operators of the John Doe

   Websites were false. The articles continue to cause Ms. Oueiss anxiety and mental anguish, as she

   is constantly reminded that these photographs were stolen from her personal mobile device.

          255.    The creator(s) of the John Doe Websites have taken efforts to mask their identity.

   Upon information and belief, discovery will reveal that the websites are operated by, or were

   created at the direction of, several named Defendants in this Complaint.

          256.    Publicly available information about the John Doe Websites indicates that they

   were created at the behest of the Defendants. Specifically, in August 2020, Facebook published a

   public report of a takedown operation, where Facebook had engaged in the takedown or removal

   of 28 Pages, 15 Groups, and 10 Instagram accounts for suspected coordinated inauthentic behavior

   in Yemen. Ahdathnet—one of the five websites mentioned above—was one of the accounts taken

   down during Facebook’s effort to prevent inauthentic coordinated behavior on its platform.

          257.    A report evaluating Facebook’s takedown operation was published by Stanford

   University’s Internet Observatory on August 6, 2020. In its report, Stanford University opined



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   that Ahdathnet was a Saudi-linked fake news website, with potential connections to the Saudi

   Ministry of Labor. Specifically, Stanford University evaluated Facebook’s efforts to purge its

   platform of “coordinated inauthentic behavior,” and noted that Ahdathnet was among those

   websites associated with involvement in Saudi-backed false reporting:50




             258.     Not only was Ahdathnet’s Facebook page removed for inauthentic activity, but in

   late July to early August 2020, Ahdathnet’s Twitter account was suspended:




   50
        See https://fsi-live.s3.us-west-1.amazonaws.com/s3fs-public/20200806_yemen_report.pdf

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                                         CAUSES OF ACTION

                  FIRST CAUSE OF ACTION (AGAINST ALL DEFENDANTS)
                       HACKING OF PLAINTIFF’S MOBILE DEVICE
                                  ATS 28 U.S.C. § 1350

          259.    Plaintiff incorporates and adopts by reference all the allegations contained in

   Paragraphs 1 through 5, 33 through 145, and 164 through 258 of this Complaint.

          260.    The conduct described above, i.e., the hacking of Plaintiff’s mobile device and the

   subsequent dissemination of Plaintiff’s confidential and sensitive information to the public,

   constitutes a “tort . . . committed in violation of the law of nations or a treaty of the United States”

   under 28 U.S.C. § 1350.

          261.    Specifically, the unlawful hacking operation carried out at the behest of Defendants

   MBZ and MBS violated universally agreed upon legal principles and violated the norms of

   customary international laws, including but not limited to the Convention on Cybercrime.



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            262.    Defendants’ hacking of Plaintiff’s mobile device and subsequent dissemination of

   Plaintiff’s confidential and sensitive information to the public has caused Plaintiff to suffer

   extreme mental anguish and emotional suffering, including anxiety.

            263.    Due to Defendants’ conduct which, as set forth above, was in violation of the law

   of nations, Plaintiff is entitled to damages in an amount to be determined at trial.

            264.    Defendants’ acts were premeditated, willful, intentional, malicious and oppressive,

   and Plaintiff is thus entitled to an award of punitive damages in an amount to be determined at

   trial.

                   SECOND CAUSE OF ACTION (AGAINST ALL DEFENDANTS)
                           COMPUTER FRAUD AND ABUSE ACT
                                  18 U.S.C. §§ 1030(a)(2)(C)

            265.    Plaintiff incorporates and adopts by reference all the allegations contained in

   Paragraphs 1 through 5 and 164 through 258 of this Complaint.

            266.    Upon information and belief, Defendants accessed or caused to be accessed

   Plaintiff’s mobile device and the files and photographs physically located therein. Defendants

   utilized hacking technology to access the contents of Plaintiff’s personal mobile device (and all

   files physically located in her mobile device), during a time when Plaintiff and her mobile device

   were physically present in California, among other locations, without authorization.

            267.    Upon information and belief, Defendants compromised Plaintiff’s mobile device in

   a deliberate and premeditated scheme, whereby Defendants MBS, MBZ, Al Qahtani, and Al-

   Asaker, among others, utilized sophisticated cyber hacking group Defendant DarkMatter to hack

   into Plaintiff’s mobile device and unlawfully obtain confidential content from the device.

            268.    By engaging in this conduct, Defendants accessed “protected computers,” defined

   by 18 U.S.C. § 1030(e)(2)(B) as computers “used in or affecting interstate or foreign commerce or



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   communication.” A cell phone, such as Ms. Oueiss’ personal mobile device, constitutes a

   “computer” for purposes of the Computer Fraud and Abuse Act. See U.S. v. Kramer, 631 F.3d

   900, 902 (8th Cir. 2011).

          269.    As a direct result of the actions of Defendants, Plaintiff suffered losses, including

   but not limited to costs associated with repairing the integrity of Plaintiff’s personal mobile device

   after the hacking, and other consequential damages, such as evaluating the intrusion, theft and

   conduct relating to the theft, as well as damages related thereto, in an amount to be proven at trial,

   but in any event, in excess of $5,000.

          270.    Defendants intentionally caused such damage to Plaintiff.

          271.    Defendants’ conduct in carrying out the hacking of Plaintiff’s personal mobile

   device has caused, and will continue to cause Plaintiff irreparable injury, including reputational

   harm, loss of goodwill, an increased risk of further theft, and an increased risk of harassment. Such

   injury cannot be compensated by monetary damages. Accordingly, Plaintiff seeks an injunction

   prohibiting Defendants from engaging in the conduct described in this count.

                 THIRD CAUSE OF ACTION (AGAINST ALL DEFENDANTS)
                          STORED COMMUNICATIONS ACT
                                  18 U.S.C. §§ 2701-12

          272.    Plaintiff incorporates and adopts by reference all the allegations contained in

   Paragraphs 1 through 5 and 164 through 258 of this Complaint.

          273.    Plaintiff is a “person” within the meaning of 18 U.S.C. § 2707(a).

          274.    Defendants willfully and intentionally accessed without authorization a facility

   through which an electronic communication service is provided. The manner in which Defendants

   hacked Plaintiff’s mobile device, together with the underlying data ingress and egress from

   Plaintiff’s device and then-existing vulnerabilities in WhatsApp’s application, indicates that



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   Defendants accessed WhatsApp servers to access confidential content stored on Plaintiff’s device.

   These servers, in part, provided Defendants with access to files physically and electronically stored

   on Plaintiff’s mobile device and with access to several files that were in electronic storage in such

   systems, in violation of 18 U.S.C. § 2701(a).

          275.    As a result of Defendants’ willful and intentional violations, Plaintiff has suffered

   damages and, as provided for in 18 U.S.C. § 2707, is entitled to an award of the greater of the

   actual damages suffered or the statutory damages, punitive damages, attorneys’ fees and other

   costs of this action, and appropriate equitable relief.

          276.    Defendants’ conduct has caused, and will continue to cause Plaintiff irreparable

   injury, including reputational harm, loss of goodwill, an increased risk of further theft, and an

   increased risk of harassment.      Such injury cannot be compensated by monetary damages.

   Accordingly, Plaintiff seeks an injunction prohibiting Defendants from engaging in the conduct

   described in Plaintiff’s Third Cause of Action.

             FOURTH CAUSE OF ACTION (AGAINST ALL DEFENDANTS)
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS (FLORIDA LAW)

          277.    Plaintiff incorporates and adopts by reference all the allegations contained in

   Paragraphs 1 through 5, 33 through 137, and 164 through 258 of this Complaint.

          278.    Defendants’ actions described in this Complaint, including but not limited to,

   intentionally accessing Plaintiff’s mobile device to obtain photographs of Plaintiff and disseminate

   them publicly, was intentional or reckless. Specifically, Defendants knew or should have known

   that Plaintiff would suffer emotional distress as a result of the dissemination of her personal and

   confidential photographs to the public, while simultaneously spreading a false narrative that

   Plaintiff was, at that time that several of the stolen photographs were taken, engaged in sexual acts

   in exchange for notoriety, fame, and other favors.

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          279.    Defendants’ actions described in this Complaint were outrageous. Specifically,

   Defendants’ conduct went beyond all bounds of decency and is utterly intolerable in a civilized

   community.

          280.    Defendants’ actions described in this Complaint have caused Plaintiff to suffer

   severe emotional distress. Specifically, Plaintiff suffered mental anguish as a result of the public

   ridicule and harassment that she has faced (and continues to face) every day since these

   photographs were wrongfully accessed and disseminated from her mobile device.

          281.    As a result of Defendants’ actions, Plaintiff has suffered severe emotional distress.

   Plaintiff is entitled to monetary damages in an amount to be determined at trial.

                  FIFTH CAUSE OF ACTION (AGAINST ALL DEFENDANTS)
                             INTRUSION (FLORIDA LAW)

          282.    Plaintiff incorporates and adopts by reference all the allegations contained in

   Paragraphs 1 through 5, 33 through 137, and 164 through 258 of this Complaint.

          283.    Defendants, through their acts of accessing Plaintiff’s electronic files from her

   personal mobile device, physically or electronically intruded into Plaintiff’s private quarters.

          284.    Upon information and belief, Defendants hacked, stole, doctored, and disseminated

   to others the personal and private information stored on Plaintiff’s mobile device. Defendants

   committed these acts without Plaintiff’s consent, and with the deliberate intent to unlawfully

   access Plaintiff’s personal and private information.

          285.    Defendants’ conduct described in this Complaint, including the intrusion into

   Plaintiff’s mobile device described herein, is highly offensive to a reasonable person. A reasonable

   person would expect to be free from the intrusion that Plaintiff was subjected to as a result of

   Defendants’ concerted actions to silence, intimidate, harass, and destroy Plaintiff’s reputation.




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          286.    The public disclosure of Plaintiff’s personal and confidential information has

   caused, and will continue to cause, Plaintiff injury, including reputational harm, an increased risk

   of further theft, and an increased risk of harassment.

          287.    Plaintiff will continue to suffer this injury as long as her personal information is

   available to Defendants.

          288.    Defendants’ conduct described in this Complaint was so outrageous in character as

   to go beyond all possible bounds of decency.

          289.    Defendants’ conduct has caused, and will continue to cause Plaintiff irreparable

   injury, including reputational harm, loss of goodwill, an increased risk of further harassment. Such

   injury cannot be compensated by monetary damages. Accordingly, Plaintiff seeks an injunction

   prohibiting Defendants from engaging in the conduct described in this count.

                  SIXTH CAUSE OF ACTION (AGAINST ALL DEFENDANTS)
                 PUBLIC DISCLOSURE OF PRIVATE FACTS (FLORIDA LAW)

          290.    Plaintiff incorporates and adopts by reference all the allegations contained in

   Paragraphs 1 through 5, 33 through 137, and 164 through 258 of this Complaint.

          291.    Through the conduct described in this Complaint, Defendants accessed electronic

   files (including photographs) on Plaintiff’s mobile device, which Defendants then distributed

   through a vast network of social media, including but not limited to, Twitter accounts and websites.

          292.    In disseminating these photographs of Plaintiff, Defendants attached a false

   narrative to such photographs, including but not limited to false narratives that Plaintiff was

   engaged in sexual acts at the time the photographs were taken in exchange for favors.

          293.    The photographs and other electronic information contained on Plaintiff’s personal

   mobile device were private and confidential, and Defendants accessed them and disseminated them

   to the public without Plaintiff’s consent.

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          294.    The photographs which Defendants unlawfully accessed on Plaintiff’s mobile

   device were offensive when disseminated to the public because Defendants utilized such

   photographs to create a false narrative intended to destroy Plaintiff’s reputation and otherwise

   subject Plaintiff to humiliation and hatred.

          295.    The photographs of Plaintiff were not of public concern. These photographs of

   Plaintiff were not publicly available, nor did Plaintiff consent to their use.

          296.    Defendants’ conduct has caused, and will continue to cause, Plaintiff irreparable

   injury, including reputational harm, loss of goodwill, an increased risk of further harassment. Such

   injury cannot be compensated by monetary damages. Accordingly, Plaintiff seeks an injunction

   prohibiting Defendants from engaging in the conduct described in this count.

                 SEVENTH CAUSE OF ACTION (AGAINST ALL DEFENDANTS)
                               LIBEL (FLORIDA LAW)

          297.    Plaintiff incorporates and adopts by reference all the allegations contained in

   Paragraphs 1 through 5, 33 through 137, and 164 through 258 of this Complaint.

          298.    Defendants, through the conduct described in this Complaint, unlawfully accessed

   electronic files (including photographs) on Plaintiff’s mobile device.

          299.    Subsequent to obtaining possession of such electronic files, Defendants, through

   various networks on social media and other websites, disseminated the photographs of Plaintiff

   along with a false narrative that, at the time the photographs were taken, Plaintiff was engaged in

   sexual acts in exchange for favors.

          300.    These false narratives, along with the stolen and doctored photographs, were

   disseminated through numerous Twitter accounts (including the accounts of several named

   Defendants discussed herein), and were also displayed on the John Doe Websites which, upon




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   information and belief, were created at Defendants’ direction for the sole purpose of harassing

   Plaintiff.

           301.    These false narratives circulated along with the photographs of Plaintiff were

   incorrect, incomplete, or otherwise erroneous, and thus implied a false statement of fact regarding

   Plaintiff’s activities at the time these photographs were taken.

           302.    These false narratives and the stolen photographs were published by Defendants

   Collins and Al-Jundi while they were physically present in Florida. These narratives were also

   accessed by Florida residents on Twitter, as each Defendant who published the photos and false

   narratives has numerous Twitter followers who reside in Florida.

           303.    Defendants’ conduct exposed Plaintiff to distrust, hatred, ridicule and extreme

   embarrassment.

           304.    As a result of Defendants’ conduct, Plaintiff has suffered injury to her personal and

   professional reputation, and Plaintiff’s reputation is now lowered in the estimation of the

   community and audience with which she regularly engages during her employment as an

   international broadcaster and journalist.

           305.    As a result of Defendants’ conduct, Plaintiff has suffered monetary damages, as

   well as the reputational harm described above, in an amount to be determined at trial.

                  EIGHTH CAUSE OF ACTION (AGAINST ALL DEFENDANTS)
                          CIVIL CONSPIRACY (FLORIDA LAW)

           306.    Plaintiff incorporates and adopts by reference all the allegations contained in

   Paragraphs 1 through 5, 33 through 137, and 164 through 258 of this Complaint.

           307.    Upon information and belief, Defendants willfully and knowingly agreed and

   conspired with each other to engage in the wrongful conduct alleged in this Complaint, including

   but not limited to hacking Ms. Oueiss’ mobile device, obtaining unlawful access and possession

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   of private data on Ms. Oueiss’ mobile device, and thereafter agreeing to disseminate such private

   information and content by using the cohesive Network described in this Complaint.

          308.   Upon information and belief, the term of the Conspiracy amongst all Defendants

   commenced in mid-2018 and is still ongoing.

          309.   Upon information and belief, each Defendant named herein entered into an

   agreement (either explicitly or tacitly) whereby they conspired to commit the following acts,

   among other acts set forth above:

                 a.      Form the Network to promote Saudi Arabian and UAE interests and
                         simultaneously condemn, defame, and otherwise intimidate any dissidents
                         of the Saudi and UAE regimes, in violation of FARA’s registration
                         requirements, set forth in 22 U.S.C. § 611 et seq.;

                 b.      Utilize Defendant DarkMatter, along with other agents of Defendants MBS
                         and MBZ, to hack Ms. Oueiss’ personal mobile device on or about October
                         2019 through May 2020, and thereby obtain confidential and sensitive
                         information physically stored on Ms. Oueiss’ personal mobile device
                         without authorization and then stealing and doctoring Ms. Oueiss’ data, in
                         violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(2)(C)
                         and Florida common law;

                 c.      Utilize Defendant DarkMatter, along with other agents of Defendants MBS
                         and MBZ, to willfully and intentionally access, without authorization, a
                         facility through which an electronic communication service is provided.
                         Specifically, as discussed above, the data ingress and egress from Plaintiff’s
                         mobile device indicates that Defendants accessed WhatsApp’s servers and
                         thereby obtained access to data while in electronic storage in such systems,
                         in violation of the Stored Communications Act, 18 U.S.C. § 2701(a);

                 d.      Utilize John Doe Defendants to create several anonymous social media
                         accounts, as well as the John Doe Websites, solely for the purpose of
                         disseminating the stolen photographs of Ms. Oueiss to the public, along
                         with the false narrative that Ms. Oueiss was engaged in sexual acts at the
                         time the photographs were taken, with the intent to defame and disparage
                         Ms. Oueiss;

                 e.      Utilize the named Defendants in this Complaint (who are a part of the
                         Network discussed above) to further publish the stolen photographs of Ms.
                         Oueiss as a means to intimidate, harass and defame Ms. Oueiss;



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                  f.      Utilize the named Defendants in this Complaint (who are a part of the
                          Network discussed above) to assassinate Ms. Oueiss’ character through
                          Twitter by, among other things, tweeting false stories regarding Ms. Oueiss
                          with the intent to disparage, intimidate, and otherwise harm Ms. Oueiss; and

                  g.      Utilize the named Defendants in this Complaint (who are a part of the
                          Network discussed above) to threaten Ms. Oueiss with the release of
                          additional private and personal information that was unlawfully obtained
                          from Ms. Oueiss’ personal mobile device.

          310.    Upon information and belief, the Conspiracy was agreed to within and outside of

   the U.S.

          311.    As noted above, at least one step in furtherance of the Conspiracy occurred within

   the U.S., namely, Defendant Collins’ and Defendant Al-Jundi’s defamation of Ms. Oueiss while

   both Defendants were present in Florida. Upon information and belief, Defendant Collins also

   disseminated the images of Ms. Oueiss with full knowledge that such images had been stolen from

   Ms. Oueiss’ mobile device, and with the intent to further the goals of the Defendants’ Conspiracy.

          312.    Additionally, Defendants published doctored images of the original photographs of

   Plaintiff to make it appear as though Plaintiff was naked to further the false narrative that Plaintiff

   was engaged in sexual acts at the time the photographs were taken. These photographs and false

   narratives were disseminated by individual Defendants named herein on their public Twitter

   accounts, as well as the John Doe Websites which, upon information and belief, were created at

   Defendant MBS’s behest for the purpose of harassing, intimidating and causing harm to Plaintiff.

          313.    Each Defendant named in this Complaint committed an overt act in furtherance of

   the Conspiracy:

                  a.      Upon information and belief, Defendants MBS, MBZ, Al Qahtani, and Al-
                          Asaker, among others, utilized Defendant DarkMatter to hack into Ms.
                          Oueiss’ mobile device and unlawfully obtain access to Ms. Oueiss’ personal
                          and confidential information, with the intent to use such information to
                          defame, disparage and otherwise harm Ms. Oueiss;



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                 b.     Defendant Al Arabiya committed the overt act of knowingly publishing the
                        Doctored Financial Photo, and attempted to attribute such false documents
                        to Ms. Oueiss as a way of defaming and disparaging Ms. Oueiss;

                 c.     Defendants MBS, Al-Asaker and Al Qahtani committed the overt act of
                        directing Defendants Zeinab, Al Menaia, Al Otaibi, and Al-Owerde to
                        recruit each member of the Network discussed above, with the goal of
                        promoting Saudi Arabia’s and UAE’s public image, while disparaging those
                        who criticized the Saudi and UAE regimes, including Plaintiff. Upon
                        information and belief, Defendants Al-Asaker and Al Qahtani used their
                        positions at SACM and the MiSK Foundation to recruit members of the
                        Network in furtherance of the Conspiracy against Ms. Oueiss;

                 d.     The Recruiting Defendants (i.e., Zeinab, Al Menaia, Al-Owerde, and Al
                        Otaibi), at the direction of Defendants MBS, Al Qahtani, Al-Asaker and
                        officers of Saudi 24 TV, committed the overt act of recruiting each
                        individual in the Network for the purpose of spreading pro-Saudi Arabian
                        propaganda. Upon information and belief, the Recruiting Defendants also
                        instructed members of the Network to disseminate the photographs of Ms.
                        Oueiss via Twitter, along with the false narrative that Ms. Oueiss was
                        somehow responsible for the release of the photographs;

                 e.     Defendant Collins committed an overt act in furtherance of the Conspiracy
                        while present in Florida. Specifically, from at least June 7, 2020 to June 9,
                        2020, Defendant Collins repeatedly harassed, defamed and disparaged
                        Plaintiff on Twitter. Defendant Collins, among other defamatory acts
                        described herein, posted the stolen photographs of Plaintiff and accused her
                        of selling herself “to terrorists to get a story[.]” Upon information and
                        belief, Defendant Collins engaged in this conduct at the request or direction
                        of the other Defendants, and with the intent to defame Ms. Oueiss;

                 f.     Defendant Smith committed an overt act in furtherance of the Conspiracy.
                        Specifically, on June 10, 2020, Defendant Smith posted the stolen
                        photographs of Plaintiff, along with the false narrative that the release of
                        such photographs were somehow Plaintiff’s fault;

                 g.     Defendant Al-Jundi committed an overt act in furtherance of the Conspiracy
                        when he defamed and disparaged Plaintiff on Twitter, while Defendant Al-
                        Jundi was physically present in Florida;

                 h.     Defendant Schey committed an overt act in furtherance of the Conspiracy
                        when she retweeted defamatory tweets regarding Ms. Oueiss that were
                        published by the @KateStewart22 account, among other defamatory tweets.

          314.   Upon information and belief, each of the overt acts described above were

   committed in furtherance of Defendants’ Conspiracy, i.e., to harass, intimidate, humiliate and

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   otherwise cause harm to Plaintiff through the unlawful access and dissemination of personal and

   private information contained on Plaintiff’s personal mobile device.

          315.    As a direct, proximate, and foreseeable result of Defendants’ concerted and

   unlawful acts, Plaintiff has suffered the injuries described in this Complaint, including reputational

   harm, loss of goodwill, an increased risk of further theft, and an increased risk of harassment.

   Additionally, Plaintiff has suffered mental anguish, anxiety, lost business opportunities, and other

   tangible and intangible harm. Plaintiff’s family resides in Florida, and while Plaintiff has visited

   her family here before, Plaintiff is now frightened to visit this State, as several Defendants involved

   in this Conspiracy reside in Florida (e.g., Defendants Collins and Al-Jundi). Accordingly, due to

   Defendants’ ongoing conduct, Plaintiff has been precluded from visiting her own family, causing

   her to suffer emotional harm.

          316.    These injuries and losses have occurred in the past, are occurring in the present,

   and likely will continue in the future. Plaintiff also seeks equitable relief in the form of an

   injunction and punitive damages under this count.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests this Court enter judgment against Defendants, setting

   forth as follows:

          (1) A declaration that Defendants’ conduct constitutes violations of the statutes and

              common law cited herein;

          (2) A permanent injunction to be issued enjoining Defendants, their employees, agents,

              successors and assigns, and all those in active concert and participation with

              Defendants, and each of them who receives notice directly or otherwise of such

              injunctions, from:



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                     a. Continuing to engage in any defamatory action affecting Plaintiff’s business

                        interests or reputation;

                     b. Conspiring to hack Plaintiff’s personal mobile device to obtain personal and

                        confidential information for dissemination; and

                     c. Any other efforts to unlawfully harm Plaintiff.

           (3) A monetary judgment, for an amount equal to actual damages sustained by Plaintiff,

               plus reasonable attorneys’ fees, punitive damages, and costs in prosecuting the action;

               and

           (4) For any other relief this Court deems just and proper.


                                      DEMAND FOR JURY TRIAL


           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully

   requests a trial by jury of all issues properly triable by jury.

   Dated: December 9, 2020


                                                           Respectfully submitted,
                                                           /s/ Daniel L. Rashbaum
                                                           DANIEL L. RASHBAUM
                                                           Fla. Bar No. 75084
                                                           drashbaum@mnrlawfirm.com
                                                           JEFFREY E. MARCUS
                                                           Fla. Bar No. 310890
                                                           jmarcus@mnrlawfirm.com
                                                           Marcus Neiman & Rashbaum LLP
                                                           One Biscayne Tower
                                                           2 South Biscayne Blvd., Suite 1750
                                                           Miami, Florida 33131
                                                           Telephone: (305) 400-4260




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